Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 1 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 2 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 3 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 4 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 5 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 6 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 7 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 8 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 9 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 10 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 11 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 12 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 13 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 14 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 15 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 16 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 17 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 18 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 19 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 20 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 21 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 22 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 23 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 24 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 25 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 26 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 27 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 28 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 29 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 30 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 31 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 32 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 33 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 34 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 35 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 36 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 37 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 38 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 39 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 40 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 41 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 42 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 43 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 44 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 45 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 46 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 47 of 123
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 48 of 123




                             Exhibit 1
       Case 3:13-cv-01279-WHO             Document 110-9            Filed 10/10/14          Page 49 of 123


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         Dr. Keith R. Ugone has provided economic and damages consulting services in antitrust cases,
breach of contract cases, business interruption cases, employment / loss of earnings cases, intellectual
property cases, lender liability cases, professional negligence cases, and securities-related cases, among
others. He specializes in the application of economic principles to complex business disputes and is
generally retained in cases requiring economic analyses and/or damages-related analyses. Damage models
constructed or evaluated by Dr. Ugone have had as components revenue analyses, lost sales analyses, cost
analyses, assessments of the capacity to produce additional units, assessments of profitability, the
competitive business environment in which the damages claim was being made, claimed lost profits, claimed
lost business value, and claimed reasonable royalties. During the course of Dr. Ugone’s career, he has
frequently evaluated lost profits and valuation-related damages using large databases of information and
complex computer models. Dr. Ugone also has performed economic liability analyses in antitrust matters
including defining relevant markets, assessing market power, and evaluating alleged anticompetitive
behavior. Dr. Ugone has testified at trial and in deposition over 300 times.
         Dr. Ugone has a PhD in Economics from Arizona State University, an MA in Economics from the
University of Southern California, and a BA in Economics from the University of Notre Dame. Subject
areas of expertise include microeconomics, macroeconomics, industrial organization, antitrust/regulation,
and econometrics.     He is a member of the American Economic Association, the American Statistical
Association, the National Association of Forensic Economists, and the Western Economics Association.

EDUCATION
1983             Ph.D., Economics, Arizona State University.
1979             M.A., Economics, University of Southern California.
1977             B.A., Economics, University of Notre Dame.

PROFESSIONAL EXPERIENCE
2004 - Present Analysis Group, Dallas, Texas – Managing Principal.
1985 – 2003    PricewaterhouseCoopers LLP (and legacy firms) – Partner (Principal) 1992 – 2003; Senior
               Manager 1989 – 1992; Manager 1987 – 1989; Senior Consultant 1985 – 1987. Member of
               United States Admissions Committee (2003). Chairman of PricewaterhouseCoopers
               Intellectual Property Leadership Forum (2000 – 2003).
1983 – 1985    California State University, Northridge - Assistant Professor/Lecturer in Department of
               Economics, Full-time: 1983 – 1985, Part-time: 1986 – 1992.
1979 – 1983    Arizona State University - Faculty Associate/Teaching Assistant in Department of
               Economics.
1977 – 1979    Jet Propulsion Laboratory - Economic/Energy Analyst.
     Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14        Page 50 of 123
                                                                                         Keith R. Ugone, page 2

PROFESSIONAL AND BUSINESS AFFILIATIONS
American Economic Association
American Statistical Association
National Association of Forensic Economists
Western Economics Association

SELECTED LITIGATION CONSULTING EXPERIENCE (by Nature of Suit)
Securities: 10b-5 / Section 11 Cases
•   Evaluated the economic damages being asserted by shareholders and debt holders of a bankrupt energy
    trading company against a brokerage firm. Plaintiffs alleged the brokerage firm recommended the stock
    and debt securities associated with the company even though it knew or should have known the
    deteriorating pre-bankruptcy financial condition of the company. Analyzed the trading patterns of the
    brokerage account customers and the stock price movements of the company upon issuance of analyst
    reports, and researched confounding events contributing to investors’ trading of the securities-in-
    question. Demonstrated an economic causal link did not exist between the alleged wrongful conduct and
    the claimed trading patterns. Also evaluated the event study conducted by Plaintiffs’ damages expert and
    the claimed inflation component embedded in the company’s stock price. Demonstrated Plaintiffs’
    damages expert failed to remove the economic impact of confounding events. Performed an alternative
    damages evaluation.
•   Evaluated shareholder and debt holder claimed damages against a major accounting firm relating to the
    issuance of allegedly false and misleading financial statements that did not identify certain assets of a
    communications company as impaired. Researched industry reports and analyst reports regarding the
    company’s common stock and debt securities, evaluated an event study conducted by Plaintiff’s damages
    expert, analyzed loss causation in accordance with Dura, studied the company’s stock price movements
    before and during the claimed class period, and analyzed the company’s stock price movement on the
    day of the alleged corrective disclosure. Demonstrated Plaintiffs’ event study did not appropriately
    isolate the stock price movement associated solely with the alleged corrective disclosure as confounding
    events were not removed from the analysis. Performed an alternative damages calculation.
•   Evaluated Plaintiffs’ damages claim in a shareholder suit relating to the manufacturer of decoding
    equipment used in the wireless cable industry. Analysis demonstrated Plaintiffs’ financial expert did not
    consider market speculation related to the wireless cable industry or Defendant’s higher-than-expected
    earnings when calculating claimed damages. Additional errors included aggregating into claimed
    damages stock price increases unrelated to Plaintiffs’ allegations and on “no announcement days”.
•   Evaluated damages claim against a major investment banking/underwriting firm relating to an aborted
    initial public offering in the temporary staffing industry. Analysis demonstrated methodological and
    conceptual errors in Plaintiff’s econometrically-based claim that the projected post-IPO stock price of the
    company justified proceeding with the IPO. Also evaluated various components of Plaintiff’s damages
    claim, including the profitability of Plaintiff’s business, projected use of funds raised, ownership
    percentages in the company, and the funds that would have inured to the original owners of the company.
•   Evaluated Plaintiffs’ damages claim in a shareholder suit involving an international airline carrier. At
    issue were alleged misrepresentations concerning the airline’s ability to reduce its maintenance costs.
    Demonstrated that the fifty percent decline in the company’s stock price over a one-month period was for
    reasons unrelated to corrective disclosures concerning maintenance costs. Also reconstructed Plaintiffs’
    trading history, comparing the trading pattern to public announcements concerning the airline, and
    demonstrating a trading pattern inconsistent with Plaintiffs’ theory of reliance on the alleged
    misrepresentations.
     Case 3:13-cv-01279-WHO              Document 110-9           Filed 10/10/14       Page 51 of 123
                                                                                          Keith R. Ugone, page 3

•   General Overview. Performed an “event study” and/or evaluated claimed damages in various securities
    litigation cases involving firms in industries such as: airlines, biotechnology, computer software,
    commodities, banking, real estate development, life insurance, entertainment, communications, energy
    trading, investment banking, computer printers, health care, medical equipment, hotels, non-traditional
    automotive insurance, information technology services, workmen’s compensation insurance, computer
    hardware, camera and photo finishing, intelligent disk drives, market research, trucking, temporary
    staffing, real estate investment trusts, computer networking, specialty stores, skilled nursing facilities,
    wireless cable encoding devices, the provision of software computer services to insurance companies,
    and the provision of professional services to power plants and large scale industrial facilities. Analyses
    included development of an appropriate peer group and isolation of economy-wide, industry-specific,
    and company-specific factors impacting the particular firm’s stock price. Company-specific events often
    included unfavorable news announcements unrelated to the alleged misrepresentations and the ending of
    potential takeover bids. Also involved was a comparison of the firm’s actual stock price to its “true
    value” line, the construction of a matrix to track ins-and-outs traders and retention shareholders, and an
    evaluation of damages under Section 10b-5 and Section 11 claims.
Securities: Merger/Takeover Related Cases
•   Evaluated claimed damages against a major accounting firm by a transportation company that acquired
    another transportation company in alleged reliance upon the audited financial statements of the acquired
    company and its Mexican subsidiary. Plaintiff wrote down its investment in the Mexican subsidiary after
    the acquisition and based its damages claim on a subsequent decline in its stock price. Analyses included
    researching competing transportation companies, considerations associated with consummating the
    merger, analyst reports regarding the merger announcement and the investment write-down
    announcement, and earnings announcements from comparable companies. Demonstrated Plaintiff’s
    damages expert did not establish an economic causal link between the alleged wrongful conduct of the
    Defendant and the claimed economic damages suffered by the Plaintiff and that confounding events were
    not taken into account appropriately.
•   Evaluated Plaintiffs’ damages claim relating to a merger in the banking industry. At issue was whether
    material adverse changes regarding loan loss reserves had occurred but were not disclosed. Analyzed
    whether the complained of events were related to conditions and circumstances in the banking industry.
    Also analyzed the value of alternative offers for the target bank and the pre-merger volatility in the
    acquiring bank’s stock price.
•   Evaluated Plaintiffs’ claimed damages in a breach of contract matter involving the aborted sale of
    assisted living facilities. Analyzed current trends in the assisted living industry, the financial condition
    of the target company, the projected financial results of certain to-be-constructed properties, and the
    target company’s performance relative to projections. Also at issue was whether a material adverse
    change had occurred in the target company’s operations and business. Lost profit damages, interest-
    related damages, lost contract fees, and diminution-in-value damages were evaluated.
•   Evaluated Plaintiffs’ damages claim in a merger/acquisition-for-stock litigation in the information
    technology services industry. At issue was whether material adverse changes had occurred in the
    business condition of the acquiring company prior to the closing of the merger. Damages issues included
    investigating the nature of the agreed upon warranties and representations contained in the merger
    agreement, the stock price performance of similarly-situated firms, the length of the alleged damages
    period, the appropriate length of certain event windows, industry downturns, and the failure to account
    for the proper mitigation of damages.
•   Analyzed a major entertainment company’s stock price movement to determine the takeover premium
    paid by an acquiring company. Involved was quantifying the impact of takeover rumors prior to the
    takeover announcement to isolate that portion of the company’s pre-acquisition increase in stock price
    due to takeover speculation as opposed to general industry trends.
     Case 3:13-cv-01279-WHO              Document 110-9           Filed 10/10/14        Page 52 of 123
                                                                                          Keith R. Ugone, page 4

•   Served as financial advisor to a Special Litigation Committee (“SLC”) investigating a shareholder
    approved merger vote in the telecommunications industry. The merger was not consummated, but the
    vote triggered the acceleration of vesting of options owned by the officers and directors of the target
    company. Assisted the SLC in analyzing the acceleration of options and various alternative settlement
    strategies.
Securities/Commodities: Other Cases
•   Evaluated Plaintiff’s claimed lost enterprise value damages relating to Defendants’ allegedly fraudulent
    conduct resulting in an artificial acceleration of income, restatement of income, and ultimate bankruptcy
    of a food distribution company. Analyses included isolating the dollar magnitude of the alleged artificial
    acceleration of income allegedly created by Defendant’s actions compared to other artificial accelerations
    of income, an assessment of alternative reasons for Plaintiff’s business decline and ultimate bankruptcy,
    and evaluation of Plaintiff’s valuation approaches.
•   Evaluated the spot price of a base metal in a major commodities-related market manipulation matter.
    Developed an econometric model to explain the spot price movements of the base metal in an un-
    impacted period. Used the econometric model to evaluate what the spot price of the base metal would
    have been in the absence of the alleged manipulation.
•   Calculated short-swing trading profits under Section 16(b) of the Securities Exchange Act of 1934
    relating to the stock trading activities of an officer of a long distance telecommunications company.
    Issues analyzed included allocating stock purchases to stock sales of differing numbers of shares and
    accounting for a 3-for-1 reverse stock split during the period under consideration.
•   Evaluated damages in an alleged lack of suitability, lack of supervision, and failure to execute matter in
    the securities industry. At issue was an investment strategy of selling short the same stock in which a
    restricted long position was also held. Demonstrated errors in Plaintiff’s damages claim, including the
    failure to recognize that the financial objectives stated at the time of the development of the investment
    strategy were in fact met.
•   Evaluated the stock price performance of a major distiller over a forty-year period. At issue was whether
    a portion of the increase in the stock price could be attributed to the efforts of one senior official in the
    corporation. Company-specific, industry-specific, and economy-wide factors were investigated to
    determine the reasons for the stock price performance of the distilling company.
Antitrust: Monopolization/Attempted Monopolization Cases
•   Evaluated claimed antitrust damages asserted by a major airline company against a global distribution
    system (“GDS”) operator for alleged anticompetitive behavior relating to the provision of booking
    services to travel agencies. Evaluated Plaintiff’s claimed damages relating to claimed lost profits
    resulting from the Defendant’s alleged actions to impede the rollout of a competing technology for
    booking services, contractual restrictions allegedly preventing the airline from offering targeted discounts
    to price-sensitive customers, allegedly imposing retaliatory booking fee increases, and allegedly biasing
    fare search results displayed to travel agencies.
•   Analyzed Plaintiff’s allegations that Defendant monopolized or attempted to monopolize the market for
    magnetic brakes for amusement park rides. Evaluated Plaintiff’s assessment of the relevant product
    market, allegations of market power, and the impact of Defendant’s alleged anti-competitive conduct.
    Also evaluated claimed damages, including assumptions underlying Plaintiff’s claimed damages model
    and economic causal connection between the alleged wrongful conduct and claimed losses. Determined
    that Plaintiff’s expert failed to account for alternative explanations for Plaintiff’s claimed losses. Also
    demonstrated that Plaintiff’s expert made inappropriate assumptions regarding growth in the claimed
    relevant product market and whether Plaintiff was damaged in perpetuity.
     Case 3:13-cv-01279-WHO             Document 110-9          Filed 10/10/14       Page 53 of 123
                                                                                        Keith R. Ugone, page 5

•   Evaluated Plaintiff’s economic liability arguments in an antitrust matter relating to a restriction on the
    registration of cloned American Quarter Horses with the American Quarter Horse Association.
    Evaluated Plaintiff’s expert’s theoretical economic model. Demonstrated that there was no economic
    harm to the market as a result of the at-issue registration restriction. Also identified numerous flaws in
    Plaintiff’s expert’s assumptions regarding the supply and demand of high quality American Quarter
    horses (including excess breeding capacity). Evaluated Plaintiff’s damages claim relating to lost sales of
    cloned American Quarter horses and lost breeding opportunities.
•   Evaluated the claimed anticompetitive impact of an alleged conspiracy by a major oil and gas exploration
    company to monopolize the market for Helicopter Underwater Egress Training (“HUET”). Evaluated the
    relevant product and geographic markets and the alleged market power of the Defendant. Demonstrated
    that the Defendant lacked the market power necessary to monopolize the relevant market. Also
    demonstrated the flaws in Plaintiffs’ damages claim, including but not limited to, loss of Plaintiffs’
    market share for reasons other than the alleged anticompetitive acts (e.g., self-imposed price increases
    and the loss of a large customer unrelated to the alleged wrongful conduct), failure to take into account
    the general economic downturn in the U.S. economy during the relevant period, the use of an
    inappropriate discount rate for quantifying claimed future damages, and the use of an inappropriate
    assumption relating to future claimed market shares in the absence of the alleged wrongful conduct.
•   Evaluated the competitive impact of certain covenants not to compete associated with restricted stock
    unit awards issued to operations management employees by a major dairy processor. Evaluated the
    relevant product and geographic markets. Concluded that the covenants not to compete were overly
    broad and restrictive, outweighing any precompetitive benefits associated with the covenants. Concluded
    that the covenants did not contain reasonable limitations as to time frame and scope of activity. The
    covenants effectively restricted competition and raised rivals’ costs in the relevant market.
•   Evaluated Plaintiff’s damages claim associated with the assertion that certain freight forwarders engaged
    in bid rigging, price fixing, group boycott, and illegal tying arrangements in a traffic channel for
    transporting military household goods. Demonstrated the flaws in Plaintiff’s damages claim, including
    but not limited to, declines in revenues and profits prior to the alleged conspiracy period, alternative
    reasons for the Plaintiff’s poor performance during the claimed damages period (e.g., the closing of
    military bases and increased competition in one leg of the channel), and the use of an inappropriate
    benchmark period for quantifying claimed damages.
•   Evaluated the anticompetitive impact of an alleged conspiracy between a distributor and manufacturer
    whereby the manufacturer refused to ship certain aftermarket automotive exhaust systems and catalytic
    converters to a competing distributor in Washington and Oregon. Analyses included evaluating the
    relevant product and geographic markets for aftermarket automotive exhaust products and the damages
    suffered by the competing distributor. Also evaluated the competing distributor’s direct and indirect
    price discrimination claims (including differential discounts in areas where shipments did occur) and
    associated claimed damages.
•   Analyzed various monopolization allegations in an antitrust counterclaim to a patent infringement matter
    in the home lighting control systems industry. Analyzed the trade practices of the home lighting control
    system manufacturers (e.g., sales channels, advertising and promotion, etc.), product and geographical
    markets, and the potential substitutes to the products at issue. Analyses demonstrated counterclaim
    Defendant did not possess the ability to monopolize the relevant market for home lighting control
    products given the channels through which manufacturers made sales and the availability of close
    substitute products.
     Case 3:13-cv-01279-WHO               Document 110-9           Filed 10/10/14        Page 54 of 123
                                                                                            Keith R. Ugone, page 6

•   Evaluated Plaintiff’s economic liability arguments in an antitrust counterclaim relating to a supply
    agreement for an ingredient (i.e., larch arabinogalactan) contained in certain patented dietary and
    nutritional supplements for the promotion and maintenance of good health. Concluded that (a) the sales
    agreement in question did not constitute an unreasonable restraint on trade, (b) the Defendant did not
    possess monopoly power, and (c) the Defendant did not engaged in anticompetitive behavior in any
    properly defined relevant market. Observed that the prices of dietary supplements containing
    arabinogalactan did not increase since the signing of the sales agreement, the output of dietary
    supplements containing arabinogalactan did not decline since the signing of the sales agreement, (c) the
    capacity to produce additional arabinogalactan had been increasing, and (d) Plaintiff did not face a
    dangerous probability of being harmed by the supply agreement.
•   Evaluated claimed antitrust damages asserted by the holder of certain common packet channel (“CPCH”)
    technology patents against a group of handheld mobile device hardware and infrastructure manufacturers
    for an alleged conspiracy to deprive the patent holder of the value of its patented technology in the third
    generation partnership project (“3GPP”). The patent holder’s technology had been removed as an
    optional standard. Damages-related analyses included conducting a Georgia-Pacific analysis and
    analyzing the licenses identified by Plaintiff’s expert as comparable to the patents at issue. Also
    determined that Plaintiff’s expert had not established an economic causal link between the alleged
    wrongful conduct and the damages being claimed.
•   Evaluated the claimed anticompetitive activities of Defendant hospital’s alleged exclusionary
    arrangements and practices relating to managed care contracts. Evaluated the relevant antitrust markets
    (product and geographic) for primary care services provided by physicians to managed care-covered
    patients in Smith County, Texas. Also evaluated the volume of commerce impacted by the claimed
    exclusionary practices and the impact of these claimed exclusionary practices on competition in the
    relevant markets. In addition, evaluated the economic damages suffered by the Plaintiff hospital as a
    result of Defendant’s alleged anticompetitive activities.
•   Evaluated Plaintiff’s claim of antitrust injury in the markets for orthodontic brackets and orthodontic
    services allegedly due to the advertising guidelines promulgated by a national orthodontic trade
    association. Analysis demonstrated the advertising guidelines were efficiency enhancing (by lowering
    consumer search costs), promoted competition, and did not stifle innovation in the relevant markets.
    Also empirically demonstrated that legitimate advertising through a variety of media was not impacted by
    the advertising guidelines.
•   Evaluated distributors’ claims of past lost profits, future lost profits, and reductions in franchise values in
    a carbonated soft drink antitrust litigation. Defendants allegedly entered into a series of anti-competitive
    marketing agreements with retailers relative to the promotion and sale of national brand carbonated
    beverages. Analysis demonstrated Plaintiffs’ expert did not take into account the brand composition of
    Plaintiffs’ case sales, underestimated variable costs of distribution, did not adjust for increased
    competition from private-label brands and other drinks, and failed to account for the lack of advertising
    and other promotional support from the distributors’ parent company.
•   Analyzed the impact of a proposed merger of two insurance companies on the long term care and
    medicare supplement insurance markets in the state of Oklahoma. Evaluated whether the merger would
    substantially lessen competition or have a tendency to create a monopoly. Evaluated the number of
    competitors, the reasonable interchangeability of the insurance products offered, insurance company
    sizes, ease of entry, the impact of regulation, and the ability of consumers to acquire price information in
    a low-cost manner.
•   Analyzed the alleged anticompetitive impact of an exclusive provider arrangement between a hospital
    and a group of anesthesiologists on the market for anesthesia services. Analyses included determining
    inpatient services market shares, anesthesia procedures market shares, and recent entry into the hospital
    service area. Also evaluated the damages claims being alleged by a group of Certified Registered Nurse
    Anesthetists.
     Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14        Page 55 of 123
                                                                                         Keith R. Ugone, page 7

•   Conducted an economic analysis in a vertical non-price (advertising) restraint antitrust case dealing with
    tennis ball throwing machines. Analysis demonstrated the pro-competitive nature of the advertising
    restraint and that the termination of a non-complying dealer did not substantially reduce competition in
    the relevant market.
•   General Overview. Provided economic analyses and developed damages models and/or critiqued the
    opposition’s damages models in various antitrust cases involving the following industries and/or markets:
    anesthesia services, printed circuit boards, nutritional supplements, carbonated soft drinks, aftermarket
    automotive exhaust systems, telecommunications switching equipment, dairy processing, radio control
    model airplanes, local area networks, entertainment lighting, integrated casino bonusing software, home
    lighting control systems, medicare supplement/long term care insurance, commercial air conditioning
    units, disposable dust/mist respirators, immunodiagnostic tests, in-patient hospital services and managed
    care contracts, PBX systems, military freight forwarding, underground storage tanks, long distance
    telephone lines, tennis ball throwing machines, check processing readers/sorters, local television
    advertising, personal watercraft, automobile refinishing paint, Christian music, subsea horizontal
    extraction wells, orthodontic braces, DRAM microcomputer chips, women’s designer clothes, single
    point of contact telecommunication services, non-prescription reading glasses, and the provision of
    temporary electrical services to convention centers. Damages models were constructed or critiqued that
    involved lost sales analyses, incremental cost analyses, and assessments of capacity increases. Also
    investigated were economic forces external to the company that may have impacted the company’s
    performance. Economic analyses included defining the relevant market, assessing the presence or
    absence of market power, evaluating whether a business activity was pro-competitive or anti-competitive,
    and/or evaluating the level of competition in a particular market.
Antitrust: Price Fixing Cases
•   Evaluated Plaintiffs’ claimed damages relating to allegations of an industry-wide price fixing conspiracy
    among the defendant manufacturers of polyether polyol products. At issue were the alleged overcharges
    relating to sales of TDI, MDI, and polyether polyols during the alleged conspiracy period. Analyses
    included evaluating Direct Action Plaintiffs’ and Class Plaintiffs’ econometric pricing models which
    purported to show alleged overcharges (and the unreasonableness of the claimed overcharges in light of
    existing profitability levels). Also assessed indicators of competition in the relevant market, including
    evidence of supplier switching by Plaintiffs, changes in defendants’ market shares, and pricing patterns
    of the at-issue products.
•   Evaluated allegations of price-fixing among freight companies relating to bids to ship the household
    goods of U.S. Armed Forces’ members and civilian employees of the U.S. Department of Defense
    between Germany and the U.S. Analyses included an investigation of the efficiency-enhancing
    economic benefits provided by the at-issue “landed rate” pricing system. Also evaluated Plaintiff’s
    claimed damages allegedly associated with elevated rates and alternative factors contributing to claimed
    elevated rates unrelated to claimed conspiracy. Evaluated Plaintiff’s econometric model used to
    purportedly identify claimed overcharges.
Antitrust: Predatory Pricing/Price Discrimination Cases
•   Evaluated differences in prices paid by a plaintiff distributor relative to those paid by a competitor in a
    price discrimination case involving the distribution of aftermarket exhaust systems. Analyses included an
    evaluation of the relevant product and geographic market for the at-issue products as well as damages
    caused by the alleged anticompetitive behavior.
•   Evaluated the relevant product and geographic markets and impact on competition in a price
    discrimination case involving a manufacturer of lighting products and the prices charged to various
    distributors. Analyses included an investigation of the primary-line market (i.e., competition among
    manufacturers of lighting products) and the secondary-line market (i.e., competition among distributors).
    The impact on competition among the distributors of lighting products was investigated (and whether a
    substantial lessening of competition occurred) given the pricing policies of the manufacturer.
     Case 3:13-cv-01279-WHO               Document 110-9           Filed 10/10/14        Page 56 of 123
                                                                                           Keith R. Ugone, page 8

•   Reviewed the newly proposed pricing structure of a major magazine distributor to identify the efficiency
    enhancing attributes of the proposed pricing structure as well as potential discriminatory effects. The
    proposed pricing structure was a major change from industry practices and included per copy distribution
    fees and excess return fees.
•   Evaluated the economic and damages-related claims made in a major price discrimination case in the
    pharmaceutical industry. At issue were the additional sales and profits that would have been made by
    grocery drug stores and retail drug chains in the absence of the alleged price discrimination.
•   Conducted various industry and firm-specific analyses in a major wholesale bread predatory pricing case.
    Bread industry studies included analyses of industry profitability rates, the changing size distribution of
    firms in the industry, and general trends in wholesale bread prices. Firm-specific studies included
    analyses of advertising rates, “cripple” (i.e., reject) rates, and “stale” (i.e., return) rates. Also involved
    was a critique of Plaintiff’s calculation of Defendant’s average variable cost of producing and
    distributing a loaf of bread.
•   Calculated the average cost of servicing a three-yard bin of trash in a solid waste disposal predatory
    pricing case. Also included was an analysis of number of routes and bin pickups per route.
Antitrust: Tying Cases
•   Evaluated certain economic and damages claims made by a local television station against a television
    program syndicator. At issue was an alleged unlawful tying arrangement relating to the claimed
    requirement to license Becker in order to license Judge Judy and Judge Joe Brown. Demonstrated the
    syndicator did not possess market power in a properly defined market since substitution existed between
    different genre of television programs, between different syndicators, between different demographic
    groups, and between different types of syndicated programming (i.e., first-run, off-network, and
    evergreen programming). Also demonstrated that the pricing patterns of the syndicator were inconsistent
    with the antitrust claims being made.
•   Evaluated an unlawful tying claim brought by a pizza franchisee against its franchisor. Franchisees were
    required to purchase equipment and supplies from an approved supplier owned by the pizza franchisor.
    Plaintiff alleged the claimed unlawful tying arrangement was enforced through threats of termination of
    the franchise agreement. Demonstrated that the pizza franchisor did not possess market power in the
    consumer market for pizza, in the provision of equipment and supplies to franchisees, or in the market
    for pizza franchises. Also demonstrated the economic justifications for the requirement (i.e., maintaining
    quality standards, uniformity of operations, and protection of brand name).
•   Critiqued Plaintiff’s damage model in an alleged tying case dealing with automotive CAD/CAM design
    software (the “tying” good) and mainframe timesharing (the “tied” good). At issue was the total size of
    the market, the likelihood of entry, and the market share of the Plaintiff in the absence of the alleged tie.
    Also investigated was the likelihood that design vendors would place the software on their own
    mainframes rather than timeshare.
•   Analyzed the fast food point-of-sale (“POS”) equipment and software industry in an alleged tying case.
    Demonstrated that a particular POS product was not a relevant market based on the reasonable
    interchangeability of various brands of fast food POS equipment from the perspective of the consumer
    (fast food restaurants). Also analyzed the degree of price competition, non-price competition, ease of
    entry, and relative market shares of fast food POS equipment manufacturers.
Business Interruption/Interference Cases
•   Evaluated Plaintiffs’ claimed damages in a tortious interference, business disparagement, and breach of
    contract matter dealing with the licensing of testing equipment in the petrochemical piping inspection
    industry. Demonstrated Plaintiff’s expert committed errors relating to the duration of the contracts in
    dispute, system license fees, cost of replacement systems, pricing of services, utilization of the test
    systems, and mitigation of future damages.
     Case 3:13-cv-01279-WHO               Document 110-9          Filed 10/10/14        Page 57 of 123
                                                                                          Keith R. Ugone, page 9

•   Evaluated Plaintiff’s claimed damages from a lost bid to retrofit a refinery in Pakistan. Analyzed
    Plaintiff’s allegations that Defendants made untrue statements to the bid evaluation team concerning
    Plaintiff’s net worth, working capital, and profitability trends. Evaluated Plaintiff’s claimed damages
    using as a benchmark prior engineering projects completed by Plaintiff.
•   Calculated damages suffered by the owner of numerous mobile home parks due to the actions of a
    Defendant in a case involving alleged intentional interference with contractual relations. Involved was
    an analysis of occupancy rates, a projection of park revenues in the absence of the alleged interference,
    and an analysis of mobile home park incremental profitability rates.
•   Evaluated the damages sustained by a cosmetic company as a result of defective decorated glass
    containers being furnished for its new therapy products. Evaluated and/or verified product retrieval
    costs, retrieval program administration costs, customer goodwill replacement gift costs, waste disposal
    costs, and lost profits on the therapy products. The lost profits analysis included assessing the life cycle
    sales pattern of new cosmetic products introduced by the company.
•   Evaluated damages relating to the introduction of a new popcorn product line in a business interruption
    dispute. The introduction of the new popcorn product line was aborted due to defective containers.
    Analyses undertaken included determining the cost of popcorn, the cost of popcorn bags, freight costs, as
    well as the projected revenues associated with popcorn sales. An assessment was also made of the
    supermarket outlets and territories in which the popcorn would have been sold.
•   Evaluated Plaintiffs’ damages claim relating to the installation of an allegedly defective computer
    software system at an automobile dealership. Plaintiffs contended the software had defects adversely
    affecting the accounting system and day-to-day operations of the dealership, and submitted an “increased
    cost” damages claim. Analysis demonstrated Plaintiffs’ expert used an inappropriate methodology for
    measuring damages and submitted cost increases unrelated to the allegedly defective software.
•   Other Matters. Provided deposition questions, economic analyses, and a critique of opposing
    economists’ damage models in various business interruption cases resulting from (e.g.) fires, “lockouts”,
    electrical outages, defective products, and/or injuries to key personnel. Businesses evaluated included a
    workout facility (gym), a pediatric practice, a balloon manufacturing plant, a radiology practice, and a
    packaging machine manufacturer.
Intellectual Property: Patent Infringement and Patent-Related Cases
•   Evaluated the claimed royalty damages the owners of a patent related to the processing of documents
    with arbitrary XML elements were asserting against a major software manufacturer for allegedly
    incorporating the patented technology into its software applications. Based upon an evaluation of the
    historical financial performance of the Plaintiffs before and after the time of the hypothetical negotiation,
    market demand for and supply of products similar to the allegedly embodying products, the respective
    economic contributions of the Parties to the successful commercialization of the accused products, and
    the Georgia-Pacific factors, opined to an alternative royalty damages estimate. Also evaluated the four
    factors outlined in eBay Inc. v. Mercexchange L.L.C. and opined that based upon economic
    considerations an injunction against the accused products was not warranted.
•   Analyzed Plaintiff’s lost profits and reasonable royalty damages in two separate patent infringement
    matters relating to scanning, counting, and counterfeit detection technologies in currency discriminators.
    In both matters, analyzed the Panduit and Georgia-Pacific factors, constructed a hypothetical negotiation
    framework, conducted market and industry research, and compiled an accused product sales database.
    With respect to Plaintiff’s lost profits-related damages, performed incremental profit analyses on lost unit
    sales and ancillary sales. Evaluated Plaintiff’s reasonable royalty-related damages taking into account
    the economics associated with currency discriminator sales. Evaluated damages under a variety of
    scenarios based upon potential findings of infringement on patents and claims contained in these patents.
     Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14        Page 58 of 123
                                                                                        Keith R. Ugone, page 10

•   Evaluated the claimed damages of a foam ear sleeve manufacturer who brought suit against a high-
    performance professional and personal audio earphone manufacturer alleging patent infringement
    relating to ear pieces having disposable compressible polymeric foam sleeves. Evaluated Plaintiff
    claimed royalty damages using market and industry data, a Georgia-Pacific factor analysis, and the
    changing licensing policies of the patent holder over time. Provided an alternative royalty damages
    analysis. Also analyzed from an economic perspective Defendant’s countersuit of alleged patent misuse.
    Reviewed the patent holder’s licensing strategy and certain provisions contained in the licenses into
    which the patent holder entered. Analyses demonstrated the patent holder’s licensing strategy and the
    provisions contained in its licenses were consistent with the allegation of patent misuse.
•   Evaluated Plaintiffs’ claimed royalty damages in two separate patent infringement matters relating to
    video game controllers. The first matter related to six degrees of freedom video controller technology;
    the second matter related to controller-to-processor voltage technology. In both matters, conducted
    market and industry research, performed a Georgia-Pacific analysis, and evaluated company-specific
    and controller-related licenses. Also evaluated the key drivers of Defendant’s sales including its brand
    name, innovative products and games, and installed base of gaming console owners. Provided an
    alternative royalty damages figure.
•   Evaluated Plaintiff’s lost profits and price erosion damages in a patent infringement matter relating to a
    method for delivering internet content from a network of content delivery network (“CDN”) servers.
    The suit was brought by a CDN services provider. Evaluated Plaintiff’s lost profits-related damages
    using market share data, adjusting for customer and market segment differences and the likelihood of
    supplemental sales. Evaluated Plaintiff’s price erosion-related damages for selected customers for whom
    Plaintiff was required to lower rates and/or renegotiate contracts based upon the alleged unlawful
    competition of the Defendant.
•   Analyzed Plaintiff’s lost profits and reasonable royalty damages in two separate patent infringement
    matters relating to status feedback in home lighting control systems. Performed analyses on a large
    database of invoices relating to sales of the accused products, analyzed end-user surveys, and identified
    ancillary sales based upon consumer purchasing patterns. Conducted Panduit and Georgia-Pacific
    analyses. Calculated Plaintiff’s lost sales based upon market share data reflected in industry surveys.
    Calculated Plaintiff’s royalty damages based upon comparable license analyses.
•   In a patent infringement matter relating to the air interface protocol of UMTS/WCDMA cellular phone
    technology, evaluated whether the Plaintiff had offered Defendant a license to the patents-in-suit on fair,
    reasonable, and non-discriminatory (“FRAND”) terms (as required by the European
    Telecommunications Standards Institute’s intellectual property rights policy). Analyzed the economic
    benefits associated with patents, the economic benefits associated with standard setting organizations,
    and the economic evidence related to the FRAND principles. Concluded that none of Plaintiff’s
    licensing offers comported with FRAND principles.
•   Evaluated Plaintiff’s claimed lost profits in a patent infringement suit against a medical device
    manufacturer producing trocars with floating septum seals. Analyzed market data relating to trocar
    products, competitors, and market share information. Also analyzed hospital data with respect to product
    use and conversion between different manufacturers. Demonstrated that Plaintiff had not demonstrated
    Defendant would have lost sales and Plaintiff would have gained sales in the absence of the alleged
    infringement. Concluded a claim for lost profits was not warranted.
•   Evaluated Plaintiff’s claimed royalty damages asserted against a major software manufacturer in a patent
    infringement matter relating to a pre-fetch concept allowing for the faster loading of operating systems
    and software applications. Analyzed the financial performance of the patent holder at the time of the
    hypothetical negotiation, the drivers of demand for the products allegedly embodying the patent-in-suit,
    the Parties’ respective contributions to the successful commercialization of the accused products, the
    Parties patent licensing approaches, and the relevant Georgia-Pacific factors. Opined to an alternative
    royalty damages estimate.
     Case 3:13-cv-01279-WHO              Document 110-9           Filed 10/10/14       Page 59 of 123
                                                                                        Keith R. Ugone, page 11

•   Evaluated the joint venture lost profits and reasonable royalty damages in a patent infringement suit
    brought by a natural gas producer against an energy producer relating to a system for producing natural
    gas from unconventional reservoirs. Constructed an economic model incorporating complex technical
    and economic relationships to determine the value of the natural gas likely to be captured from the
    reservoirs in question. Conducted a Panduit factor and a Georgia-Pacific factor analysis.
•   Evaluated claimed royalty damages in a patent infringement suit against a nutritional supplement
    manufacturer and distributor for the alleged infringement of two patents relating to hydrosoluble organic
    salts and certain compositions and methods for enhancing muscle performance and recovery from fatigue
    in humans. Concluded Plaintiff’s expert inappropriately constructed the hypothetical negotiation
    framework, failed to consider non-infringing alternative compositions, and overstated the claimed
    reasonable royalty rate in light of licensing evidence.
•   Evaluated claimed damages in a patent infringement matter relating to course management system
    (“CSM”) products and services using the Internet to facilitate the interaction of students and instructors.
    Conducted a Panduit and a Georgia-Pacific factor analysis. Calculated lost profits and reasonable
    royalty damages. Also analyzed Plaintiff’s business model and revenue types, Defendant’s infringing
    sales based upon customer licensing agreements and contracts, Plaintiff’s prior relationship with
    Defendant’s customers, and Plaintiff’s incremental profitability.
•   Evaluated Plaintiff’s royalty damages claim in a suit brought by a patent holding company against a
    major software manufacturer relating to certain pivot table functionalities in software. Opined to an
    alternative royalty damages figure based upon an analysis of the Georgia-Pacific factors, the demand for
    the products allegedly embodying the patent-in-suit, the failed licensing attempts by the former owners
    of the patent-in-suit, and the relative contributions of the Parties to the commercialization of the accused
    products.
•   Evaluated the royalty damages allegedly suffered by a patent holder against a major internet services
    provider relating to a method for streaming media over the internet (which facilitated the transmission of
    real-time, high-quality audio information over a communications network to multiple users
    simultaneously). Demonstrated that the patent holder’s economic expert overstated the claimed
    reasonable royalty rate, overstated the claimed royalty base, and reached conclusions that failed
    numerous reliability tests. Also demonstrated that the patent holder’s economic expert failed to properly
    recognize the economics associated with internet radio, leading to an incorrect conclusion as to the
    proper royalty base that would have been agreed upon at the hypothetical negotiation.
•   Evaluated claimed damages in a patent infringement matter filed by an operator of a web-based market
    place against a competing company relating to the submission of automobile purchase requests over the
    internet. Analyzed market and industry data relating to Plaintiff’s line of business, Plaintiff’s and
    Defendant’s financial performance, and Plaintiff’s and Defendant’s respective market shares. Estimated
    Plaintiff’s lost profits damages.
•   Evaluated claimed reasonable royalty damages in a patent infringement matter involving 5 defendants
    relating to congestion management in ATM networks. Analysis included an assessment of sales of ATM
    network products allegedly containing the patented feature, an analysis of the price of the integrated
    circuits embodying the accused functionality relative to the price of the entire ATM product, and a
    review of industry license agreements. Provided alternative reasonable royalty damages based upon the
    Georgia-Pacific factors in addition to a determining the important negotiating points in a hypothetical
    licensor / licensee negotiation.
•   Evaluated claimed reasonable royalty damages in a patent infringement matter relating to implantable
    rate responsive pacemakers and implantable cardioverter devices (“ICDs”). Analysis included an
    assessment of alleged infringing sales of pacemakers and ICDs, a review of license agreements, and an
    analysis of the defendant’s cost savings associated with the allegedly infringing technology as compared
    to its next best alternative. Determined reasonable royalty damages based upon the Georgia-Pacific
    factors, and the important negotiating points in a hypothetical licensor / licensee negotiation.
     Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14        Page 60 of 123
                                                                                        Keith R. Ugone, page 12

•   Evaluated Plaintiff’s lost profits and reasonable royalty damages in a patent infringement matter relating
    to DVR technology. Analysis included an assessment of Plaintiff’s sales of DVR products and monthly
    subscriptions in the absence of the alleged infringement and an incremental revenue and cost analysis.
    Determined reasonable royalty damages based upon the Georgia-Pacific factors and a determination of
    important negotiating points in a hypothetical licensor / licensee negotiation.
•   Evaluated lost profit damages in a patent infringement matter involving blasting hole drilling rigs. At
    issue were the lost profits stemming from lost rig sales and lost replacement part sales. With respect to
    lost rig sales, evaluated the model types, geographic sales coverage, and model prices of the entities
    involved. Also evaluated the capacity of the Plaintiff to make the additional claimed sales. With respect
    to lost replacement part damages, evaluated the likely stream of replacement part sales over the life of
    the drilling rig. Royalty calculations were performed on sales not subject to lost profit calculations.
Intellectual Property: Theft of Trade Secrets Cases
•   Evaluated Plaintiff’s claimed damages in a trade secret theft case in the golf equipment industry. Plaintiff
    claimed disgorgement of global profits and other unjust enrichment due to the alleged misappropriation
    of certain golf club design trade secrets through the Defendant’s sale of the company and assets to a large
    sporting goods company. Analysis included calculating net profits from the sale of the accused golf clubs
    and evaluating claimed reasonable royalty damages.
•   Evaluated Defendant’s assessment of the incremental costs associated with a contract to provide
    integrated bonusing software to a casino. The contract allegedly was won through the use of
    misappropriated trade secrets from the Plaintiff. At issue was the allocation of development and common
    costs to the contract in dispute. Also evaluated Plaintiff’s antitrust counterclaim to Defendant’s patent
    infringement suit relating to the technology used as a foundation for the integrated bonusing software.
•   Evaluated damages in a theft of trade secrets matter dealing with next generation switching equipment in
    the telecommunications industry. At issue was the alleged theft of trade secrets when the Defendant firm
    hired nine employees of the Plaintiff firm. Analyzed Plaintiff’s claimed inability to maintain its
    projected market share, the alleged accelerated entry of the Defendant firm into the next generation
    switching equipment market, disgorgement measures of damages, and reasonable royalty measures of
    damages.
•   Evaluated damages suffered by a Plaintiff in the business of installing systems delivering ultra-high
    purity air, water, gas and chemicals to companies manufacturing integrated circuits. Plaintiff alleged a
    former managerial employee breached his fiduciary duty by engaging in wrongful use of trade secrets,
    wrongful solicitation of employees and customers, and unfair competition with the original employer.
    Analysis involved estimating the lost sales and lost profits to the original employer by estimating the
    number of bid opportunities missed because of the alleged actions of the former employee, adjusting for
    changing industry conditions.
•   Critiqued Plaintiff’s damage model in a trade secrets case in the printed circuit board industry. Plaintiff
    was claiming lost profits due to the misappropriation of trade secrets through Defendant’s hiring of four
    key management personnel from the Plaintiff’s company. Issues evaluated included the appropriateness
    of the “proxy/yardstick” approach undertaken to estimate lost revenues, and the incremental profit rates
    used to translate lost revenues into lost profits.
Intellectual Property: Copyright/Trademark/Trade Dress Infringement/False Advertising Cases
•   Evaluated Plaintiff’s claimed damages relating to the alleged failure of a TV station to deliver contracted
    gross rating points over a 6-year period. Plaintiff was claiming lost sales and lost profits based upon a
    regression analysis used to isolate a relationship between sales revenues and advertising. Demonstrated
    Plaintiff’s regression omitted important explanatory variables (e.g., consumer income, promotions,
    discounts, competitors’ prices, and other print and TV advertising conducted by the Plaintiff). Also
    demonstrated a failure to account for diminishing returns to advertising. Each of these errors served to
    increase the magnitude of the claimed relationship between sales revenues and advertising.
     Case 3:13-cv-01279-WHO              Document 110-9           Filed 10/10/14       Page 61 of 123
                                                                                        Keith R. Ugone, page 13

•   Evaluated Plaintiff’s unjust enrichment damages claims in a copyright infringement matter brought
    against a hospital and a construction company relating to a medical building design. Compared budgeted
    construction costs to actual construction costs and analyzed the revenues received by the construction
    company associated with the copyrighted attributes of the building design as opposed to unrelated
    construction costs. Also analyzed the likely demand-related reasons for revenues that would accrue to
    the hospital unrelated to the design of the hospital.
•   Evaluated claimed damages in a false advertising matter involving tooth-whitening products between
    two large consumer product companies. At issue were allegedly false, misleading, and disparaging
    statements about Plaintiff’s tooth-whitening products in comparative advertisements shown on
    television. Plaintiff sought to recover lost profits damages associated with reduced sales resulting from
    the alleged false advertising. Analyses included an evaluation and critique of Plaintiff’s expert’s claimed
    damages model including analysis of A.C. Nielsen scanner data and CMR media data. Analysis
    demonstrated that Plaintiff’s expert did not measure properly the impact of the alleged misleading
    content, failed to account for alternative reasons for Plaintiff’s sales declines, and implemented an
    incorrectly specified econometric model.
•   Provided economic analysis relating to claims of unfair competition and misleading advertising in the
    pizza industry. Using economic indicia such as dollar sales revenue, trends in market share, growth in
    number of stores opened, same-store sales data, and store closure rates, evaluated whether the
    commercial success of a particular pizza company was due to customer acceptance of its pizza product or
    allegedly deceptive advertising. Also investigated the buying patterns of pizza consumers with respect to
    cross-chain patronage.
•   Critiqued Plaintiff’s damage claim in a matter involving alleged tortious interference with business
    relations and allegations of trade dress infringement. At issue was the projected sales and profitability of
    Plaintiff’s tape dispensing machines during a period of alleged tortious interference by the Defendant and
    Plaintiff’s simultaneous alleged trade dress infringement.
•   Analyzed the lost profits of a Plaintiff in a trademark infringement case involving a law enforcement
    product sold through a mail-order catalog. Also analyzed the profits of the alleged infringer and the cost
    of remedial advertising.
•   Assessed damages resulting from the alleged infringement of copyrighted training manuals. Analysis
    included identifying the corporate clients of the Plaintiff and Defendant firms and the reasons for
    customer switching unrelated to the use of the proprietary training manuals.
Intellectual Property: Commercial Success Cases
•   Evaluated indicators of commercial success relating to a surgical hernia mesh fixation device employing
    a patented helical tacker design. Demonstrated that the patented device had achieved significant and
    sustained sales and sales growth. Also demonstrated that the sales of the patented device had grown
    faster than the sales of other hernia mesh fixation devices and achieved a majority share of sales when
    compared to staplers and other hernia mesh fixation products.
•   Submitted a rebuttal declaration to the U.S. Patent and Trademark Office relating to the claimed
    commercial success of intrusion prevention system (“IPS”) products asserted to practice a patent
    undergoing an Inter Partes reexamination. Opined that an economic nexus had not been established
    between the claimed teachings of the patent and the commercial success of stand-alone IPS products.
    The patent holder had not demonstrated that the claimed teachings of the patent were commercially
    successful separate and apart from (a) features not claimed by the patent, (b) economic factors
    extraneous to the claimed invention, or (c) features covered by other patents present in the IPS products.
     Case 3:13-cv-01279-WHO               Document 110-9           Filed 10/10/14        Page 62 of 123
                                                                                          Keith R. Ugone, page 14

•   Evaluated Plaintiff’s analysis regarding the claimed nexus between a patented technology and the
    commercial success of the accused devices in this patent infringement matter relating to text messaging
    using a limited keypad such as those found on cell phones. Analyses demonstrated Plaintiff’s failed to
    consider many factors that lead to the commercial success of the accused devices unrelated to the patent
    in dispute.
Breach of Contract / Breach of Fiduciary Duty Cases
•   Evaluated Counter-Plaintiff’s claimed damages arising from Counter-Defendant’s failure to honor a
    most-favored licensee provision in a licensing agreement relating to a semiconductor patent portfolio.
    Opined as to the economic interpretation of certain licensing terms and the differences and similarities
    between lump sum, per unit, and percentage of revenue royalty payments. Compared the licensing terms
    between the Counter-Defendant and another party with the licensing terms between Counter-Defendant
    and Counter-Plaintiff.
•   Evaluated Plaintiffs’ claimed damages arising from an alleged breach of contract related to the sale of a
    community club house and other recreational facilities in an age-restricted residential neighborhood.
    Plaintiffs’ claimed that since they were not given the opportunity to exercise their right-of-first refusal to
    purchase the contested real estate assets, they lost the value of the equity associated with the real estate
    assets and they were required to make excessive operating expense payments. Determined that
    Plaintiffs’ expert failed to properly consider the economic factors driving the value of the real estate
    assets in question.
•   Evaluated Plaintiff’s breach of contract damages claim relating to the use of a national brand name and
    other support for the development of a time share resort. Concluded Plaintiff had not demonstrated an
    economic causal link between Plaintiff’s allegations and the quantum of damages being claimed.
    Adjusted Plaintiff’s claimed damages for various conceptual and computational errors, including
    alternative actions that might have been undertaken by the Plaintiff in the absence of the alleged
    wrongful conduct.
•   Evaluated claimed damages in an alleged breach of fiduciary duty matter between a franchisee and a
    major fast food franchisor relating to the development and managing of fast-food franchises. Plaintiff
    claimed economic harm due to franchisor’s refusal to grant certain additional franchisees to Plaintiff that
    Plaintiff claimed would otherwise be in competition with the Plaintiff’s existing franchises. Concluded
    Plaintiff’s impact analysis failed to take into account many factors affecting the performance of the
    Plaintiff’s existing franchises that were unrelated to the alleged wrongful conduct.
•   Evaluated claimed breach of contract and misrepresentation damages in a suit brought by a global
    information technology company against a global professional services company relating to a joint
    venture agreement under which a human resources outsourcing company was formed. Analysis included
    conducting a client-by-client analysis regarding the specific wrongful conduct associated with each client
    of the joint venture and estimated the associated economic damages. Based upon certain parameters
    contained in the contract, also calculated the purchase price overpayment had certain performance issues
    come to light prior to the closing of the joint venture agreement.
•   Evaluated a developer’s/franchisee’s damages claim against a major sandwich franchisor for the alleged
    breach of a five-state area development agreement. Reviewed the area development agreement, analyzed
    the revenues, costs, and profitability associated with franchised outlets, and estimated the Plaintiff’s lost
    franchise fees and lost royalty income based upon various alternative scenarios discussed by the Parties.
•   Evaluated the claimed damages of a calling card distribution company due to Defendant’s alleged breach
    of a contract relating to the servicing of the calling cards. Conducted market research on the calling card
    industry, analyzed alternative reasons for the alleged decline in calling card sales, and evaluated
    Plaintiff’s damages expert’s report.
     Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14        Page 63 of 123
                                                                                        Keith R. Ugone, page 15

•   Evaluated Plaintiff’s damages claim concerning the alleged failure of a call center to properly process
    inquiries relating to the newspaper and television marketing of a collectible doll in the likeness of a
    recently deceased public figure. Analyzed advertising expenditures, response rates across cities, major
    news announcements related to the marketing of such merchandise, and contributing problems caused by
    Plaintiff’s actions. Estimated damages by comparing sales in an unimpacted period with sales in the
    alleged impacted period.
•   Evaluated Plaintiffs’ damages claim relating to the underwriting and loan servicing of subprime
    automobile loans. Plaintiffs’ contended the servicing company did not properly administer the portfolio
    of subprime automobile loans thereby causing excessive loan losses. Analysis demonstrated that
    Plaintiffs’ financial experts failed to take into account alternative reasons for Plaintiffs’ performance.
    Analysis of Plaintiffs’ loan volume, interest income, loan loss rate, and deteriorating industry conditions
    also demonstrated that Plaintiffs’ business plan did not provide a reasonable basis from which to
    calculate claimed damages.
•   Evaluated Plaintiff’s claim of lost profits relating to the collection of ballots for a Mexican
    telecommunication company in Mexico’s Equal Access program. Analyzed a database of telephone
    customers, including statistics such as the length of service, average monthly consumption patterns,
    current billing status, and differences between residential and commercial customers. Developed an
    alternative claimed damages model taking into account consumption patterns and the turnover rate of
    customers, among other factors.
•   Evaluated Plaintiffs’ claim of lost success fees, lost closing fees, and underpayment of value relating to
    Defendant’s acquisition of an oncology laboratory and the alleged failure to consummate additional
    acquisitions. Analysis demonstrated Plaintiffs’ projections regarding the profitability of the proposed
    acquisitions were not reasonable given the historical financial performance of the targets. Also
    demonstrated Plaintiffs were not underpaid for the assets of the acquired laboratory since no investor or
    buyer was willing to provide funds to Plaintiffs pre-acquisition and since Plaintiffs in their valuation
    approach inappropriately assigned all post-acquisition synergies and gains to the Plaintiffs.
•   Evaluated Plaintiff’s damage claim arising from an alleged misappropriated opportunity to develop a
    computer superstore franchise in Mexico based on the equivalent U. S. concept. Demonstrated Plaintiffs
    overstated per store revenue, understated store-level costs, and used inappropriate financial and strategic
    assumptions regarding the number of stores opened, the amount of capital required, outside investor
    contribution, equity shares, and strategic acquisitions. Plaintiffs also conducted a valuation based on
    companies bearing little or no resemblance to a computer superstore.
•   Evaluated Plaintiff’s claim of lost profits arising from an alleged breach of contract involving two
    tubular inspection equipment manufacturing companies. Analyses demonstrated that Plaintiff’s expert
    overstated the projected utilization rate of the company’s equipment and associated revenue and
    understated the projected incremental costs that would have been incurred by Plaintiff. Analyses
    demonstrated market demand would not support the equipment utilization rate projected by Plaintiff’s
    expert.
•   Evaluated Plaintiff’s claim of damages in a breach of contract matter in the magazine publishing and
    distribution industry. Plaintiff claimed Defendants breached a distribution agreement by suspending
    distribution pending the resolution of a trademark infringement dispute. Plaintiff abandoned the
    magazine, claiming lost profits and the estimated lost value of the magazine had it been sold after its
    fourth year of publication. Analysis demonstrated Plaintiff’s expert overstated subscription-based
    revenues, distorted the cost/revenue structure that would have existed for the magazine, and overstated
    the likelihood of success by ignoring the failure of similar genre magazines.
     Case 3:13-cv-01279-WHO               Document 110-9           Filed 10/10/14         Page 64 of 123
                                                                                           Keith R. Ugone, page 16

•   Evaluated the damages sustained by the public safety division of an information technology services firm
    due to the early termination a ten-year services agreement to provide enhanced 9-1-1 services to a
    governmental agency. One-time up-front implementation costs in setting up the 9-1-1 system and
    ongoing operational costs were compiled in constructing a cost reimbursement damage claim. Also
    evaluated the reasonableness of an early termination charge schedule designed to represent the one-time
    buyout total if the governmental entity opted to terminate the contract before the ten-year term expired.
•   Evaluated the damage claim of a bank arising from an allegedly defective conversion of the bank’s data
    processing system. Areas investigated included the softening macroeconomic environment surrounding
    the bank during the relevant time period, the changing financial services market, internal bank ratios, and
    technical flaws contained in Plaintiff’s damage calculations.
•   Estimated lost sales and lost royalty payments to a “thick” potato chip producer due to a breach of
    contract. Involved was the construction of a damage model, analyses of the market for potato chips and
    per capita potato chip consumption, and projecting the rate of introduction of a new potato chip into
    regional markets.
•   Calculated damages and provided other economic analyses in a “lack of best efforts” breach of contract
    case in the carbonated soft drink industry. At issue was the impact on sales due to the “lack of best
    efforts” vs. the impact on sales from contemporaneous new entrants into the market.
•   Calculated damages in a breach of contract matter involving an association of nephrologists and a
    management company operating 12 kidney dialysis clinics. Areas of investigation included the
    “profitability available for distribution” from the clinics, the projected rate of growth in patients, the rate
    of introduction of new clinics, and the costs associated with running the clinics. A damage model was
    developed which projected the profits that would have been distributed to the management company over
    the life of the contract in the absence of the breach.
•   Evaluated claimed damages against a hospital for allegedly breaching a contract allowing hyperbaric
    oxygen services on hospital premises. Investigations included assessing the local market for hyperbaric
    services, evaluating Plaintiff’s business growth potential given the physical space constraints at the
    hospital, and demonstrating Plaintiff had fully mitigated claimed future damages through the
    establishment of an alter ego firm at a nearby local hospital.
Class Certification Engagements
•   Evaluated Plaintiff’s position that the claimed economic injury suffered by putative Class members could
    be quantified on a Class-wide basis in a class action matter relating to anti-aging skin care products
    marketed as preventing and repairing signs of aging “in just one week.” Demonstrated that the
    approaches proposed by the opposing expert to calculate Class-wide damages would not yield reliable or
    relevant estimates of the alleged harm suffered by individual Class members. Arguments presented
    included that the large number of repeat buyers, the wide variations in the retail prices associated with
    the accused products, and the wide variations in the retail price differences relative to other anti-aging
    products would prevent a reliable calculation of putative Class members’ damages on a Class-wide basis.
•   Evaluated Plaintiffs’ position that the claimed economic injury allegedly suffered by putative Class
    members could be quantified on a Class-wide basis in a matter brought by an institutional investor
    against a bank associated with the bank’s securities lending program. Demonstrated that a class-wide
    approach would obfuscate important differences among putative Class members’ individual investment
    expectations and tolerances. Differences requiring individualized inquiry included the variability in
    maturity guidelines, credit-quality guidelines, prohibited investments, and diversification requirements.
     Case 3:13-cv-01279-WHO               Document 110-9          Filed 10/10/14        Page 65 of 123
                                                                                         Keith R. Ugone, page 17

•   Evaluated Plaintiffs’ position that the claimed economic injury allegedly suffered by putative Class
    members could be quantified on a Class-wide basis in a matter where a beverages company marketed
    certain beverages as containing beneficial vitamins and allegedly failed to disclose the sugar content of
    the beverages. Evaluated the wide variations in the beverages’ retail prices across distribution outlets,
    across geographic areas, and across the time periods considered. A comparison of the average retail
    prices of the at-issue beverages relative to identified benchmark products did not support the allegation
    that the at-issue beverages possessed a systematic price premium as a result of the company’s allegedly
    misleading marketing campaign.
•   Evaluated Plaintiffs’ position that the claimed economic injury allegedly suffered by putative Class
    members could be quantified on a class-wide basis in a matter where an automobile company allegedly
    did not inform purchasers that actual vehicle miles per gallon performance could vary from the 40 miles
    per gallon EPA estimated fuel efficiency. Demonstrated that individualized inquiry would be required to
    ascertain consumers’ valuation of vehicle characteristics (including their expected fuel economy) when
    purchasing an accused vehicle, actual prices paid, driving patterns, driving conditions, and whether
    putative Class members’ expectations were influenced by the company’s alleged wrongful conduct.
    Evaluated Plaintiffs’ class certification expert’s opinion that alleged damages could be evaluated on a
    class-wide basis using a hedonic regression methodology.
•   Evaluated Plaintiffs’ position that the claimed economic injury allegedly suffered by putative Class
    members could be quantified on a class-wide basis in a matter relating to the issuance of a special
    assessment fee by a timeshare vacation club. Demonstrated that potential damages-related conflicts were
    likely to arise among putative Class members (including among the Named Plaintiffs) – making Class-
    wide proof an unreliable measure of economic injury for each putative Class member. Also
    demonstrated that evaluating claimed damages on a Class-wide basis would result in potentially
    awarding damages to putative Class members who suffered no injury.
•   Evaluated Plaintiffs’ position that the economic injury allegedly suffered by putative class members
    could be quantified on a class-wide basis in a matter where a beverages company marketed certain
    beverages as “All Natural” when they contained high fructose corn syrup (“HFCS”). Demonstrated that
    wide variations existed in the beverages’ retail prices across distribution outlets, across geographic areas,
    and across the time periods considered. Also demonstrated that wide variations existed in the beverages’
    retail prices because of promotional discounts and coupons and because the company did not sell directly
    to consumers. Consequently, whether consumers paid a price premium because of the “All Natural”
    labeling (and how much, if any) could not be determined by proof common to the proposed class. A
    comparison of the average retail prices of the “All Natural” beverages in dispute to identified benchmark
    products did not support the allegation that the “All Natural” beverages possessed a systematic price
    premium as a result of the “All Natural” labeling.
•   Evaluated the commonality of purchasing circumstances of proposed Class members in a class action
    matter against a national quick service restaurant (“QSR”) chain. Plaintiffs alleged the QSR
    misrepresented the trans fat levels contained in the QSR’s french fries. Plaintiffs also alleged the
    proposed Class paid a price premium for certain food products based upon the alleged
    misrepresentations. After reviewing survey data, marketing materials, and pricing data, concluded that
    individual inquiries were required to establish different customer’s awareness of the alleged
    misrepresentations, different customer’s reliance upon the alleged misrepresentations in their purchasing
    decisions, and other important economic factors impacting each customer’s purchase decision.
     Case 3:13-cv-01279-WHO              Document 110-9           Filed 10/10/14       Page 66 of 123
                                                                                        Keith R. Ugone, page 18

•   Evaluated Plaintiffs’ claim that Class members’ alleged damages could be “mechanically calculated” in a
    class action matter against a payphone company’s auditor. The payphone company had filed bankruptcy
    and the Class members alleged the auditor misrepresented the company’s financial statements, upon
    which the Class members allegedly relied. Conducted economic and market research and identified
    factors that caused a general decline in the payphone industry which contributed to the bankruptcy of the
    company. Analyzed the claimholders’ database and identified issues relating to the database that
    precluded Plaintiffs’ expert from mechanically calculating the damages allegedly suffered by class
    members.
Lender Liability Cases
•   Evaluated Plaintiff’s allegations that it was capital constrained and consequently economically damaged
    as a result of its loans being placed into the special assets department of its lender. Analyzed the
    Plaintiff’s unused cash, credit, and other available funds. Also analyzed Plaintiff’s successful access to
    the capital markets, acquisition spending, R & D spending, sales performance, and profitability relative
    to peer companies.
•   Analyzed Plaintiffs’ damage claim in a lender liability suit relating to Defendant’s alleged failure to fund
    certain residential housing development and construction loans. Evaluated Plaintiffs’ changing five-year
    business plan projections, including revenue growth, geographic expansion, market share, salesmen
    coverage, cost structure, and profitability assumptions. Also evaluated Plaintiffs’ strategy for “exiting”
    the business and the alleged value of their ownership at that time.
•   Evaluated damages in a lender liability case involving the bankruptcy of a gear manufacturing company.
    The bankruptcy was allegedly due to the failure of a bank to fully fund a previously committed loan.
    Investigations included researching alternative market-related reasons for the decline in the gear
    manufacturer’s business as well as evidence of internal mismanagement on the part of the company’s
    owners.
•   Other Matters. Evaluated damages, causation issues, and liability issues in various lender liability cases
    involving the calling in of loans, the failure to fund previously committed loans, the failure to release
    collateral, and the misappropriation of loan payments. Cases involved firms in the wire and cable,
    drywall/construction, PVC piping, and auto dealership industries, among others.
Professional Negligence (Non-Securities / Non-Merger) Cases
•   In an alleged professional negligence matter, a lender to distressed companies sought $40 million in
    damages from an auditor in connection with a $130 million credit facility extended to an HDTV
    company. The lender failed to collect when the borrower filed for bankruptcy. The auditor was alleged
    to have made negligent misrepresentations associated with the borrower’s financial statements; the
    lender asserted it had relied upon the borrower’s financial statements when entering into the credit
    facility. Performed economic causation and damages-related analyses. Identified the known or
    knowable risks associated with providing a credit facility to the borrower, including certain accounts
    receivable collection risks and market softness risks. Opined that it was the materialization of these
    known and knowable risks that caused the lender’s claimed losses.
•   Evaluated claimed damages against a major law firm for alleged professional negligence when filing a
    patent for the treatment of septic shock. Researched (among other things) the FDA approval process,
    associated statistics regarding the product category allegedly covered by Plaintiff’s patent, and various
    industry projections regarding the category growth. Performed a discounted cash flow analysis, an
    incremental profitability analysis, a licensing analysis, and provided an alternative calculation of claimed
    damages.
     Case 3:13-cv-01279-WHO               Document 110-9           Filed 10/10/14        Page 67 of 123
                                                                                          Keith R. Ugone, page 19

•   Evaluated Plaintiffs’ claimed damages relating to an alleged failure by a law firm to properly file certain
    patent applications relating to a video processor recorder. Plaintiffs’ business opportunities and licensing
    fees in the United States and Europe were allegedly lost due to the ensuing delays. Analyzed Plaintiffs’
    causation linkages to claimed damages, length of the claimed damages period, forecasted units sold,
    forecasted market share, forecasted costs of production, and claimed licensing rate.
•   Evaluated claims by a Department of Insurance appointed liquidator that alleged the auditor of a
    bankrupt insurance company breached its fiduciary duty, resulting in a $100 million deficit on the
    insurance company’s books. Conducted various analyses of a claims register database, including a
    comparison of indemnity payments and reserves per claim before and after the appointed liquidator took
    control of the liquidation process. Analyses demonstrated both the indemnity payments and reserves per
    claim were higher after the appointed liquidator took over the liquidation process, implying the liquidator
    over-paid and over-reserved claims.
Entertainment/Sports-Related Engagements
•   Evaluated the claimed damages of a movie production company against a major home video rental
    company. At issue was the claim that the refusal of the home video rental company to commit to carry a
    particular movie in its stores caused the movie production company to suffer lost profits when its
    distributor then refused to release the movie theatrically. Demonstrated that Plaintiff’s methodology for
    estimating lost box office revenues was inappropriate and failed to account for important determinants of
    movie attendance.
•   Analyzed Plaintiffs’ lost profits and reasonable royalty damages in a patent infringement matter relating
    to offset head lacrosse sticks. Analysis included an assessment of Plaintiffs’ sales in the absence of the
    infringement, the distribution of the lost sales to the models that would have been sold in the absence of
    the infringement, and an incremental revenue and cost analysis. Also analyzed Plaintiffs’ competitors,
    pricing patterns, productive capacity, and geographic coverage in support of the lost profits claim.
    Reasonable royalty damages were assessed using the Georgia-Pacific factors and a determination of
    important negotiating points in a hypothetical licensor / licensee negotiation.
•   Estimated the diminished box office revenues suffered by a theatrical release due to the breach of a quick
    service restaurant promotional tie-in arrangement with a major pizza chain. Developed a database of
    recently released films and related film characteristics such as genre, rating, critics review, box office
    revenues, media spending, production budget, season of release, and talent. A regression model was then
    developed to quantify the relationship between media spending and box office revenue. An industry
    review of quick service restaurant promotional tie-in arrangements was also conducted.
•   Evaluated Plaintiffs’ claimed damages in a breach of contract matter involving the sale of certain
    minority interests in a National Basketball Association team. At issue were Plaintiffs’ tag-along rights
    whereby limited partnership interests could be included in any sale by the general partner on the same
    terms and conditions. Damages were calculated as the difference between the formulaic value of the
    minority interests versus the market value of the minority interests when sold separately. Discounts for
    lack of control and reduced marketability were analyzed.
•   Evaluated Plaintiff’s damages claim relating to a NASCAR racing team sponsorship agreement. Plaintiff
    contended the Internet service provider sponsor interfered with the racing team’s ability to sell
    advertising banners that were part of the sponsorship agreement. Analyses included assessing the
    appropriate methodology for valuing a NASCAR race team and assessing comparable transactions. Also
    analyzed the financial performance of the race team, the economic terms of the sponsorship agreement,
    and the risks associated with a barter arrangement.
•   Estimated damages arising from a breach of contract claim between an electronic retailer and a local
    television station. At issue was the lost profits to the electronic retailer when the local television station
    discontinued broadcasting the electronic retailer’s programming.
     Case 3:13-cv-01279-WHO               Document 110-9           Filed 10/10/14        Page 68 of 123
                                                                                          Keith R. Ugone, page 20

•   Analyzed the market and evaluated damages on behalf of a television station denied access to a cable
    system. At issue was whether the cable operator was attempting to monopolize the market for local
    television advertising. Analysis included an estimation of the advertising revenues that would have been
    received by the local television station had it been allocated a channel on the cable system.
•   Estimated damages arising from a breach of contract claim between a video-cassette
    manufacture/distributor and a theatrical motion picture producer/distributor. At issue was whether the
    motion picture distributor manipulated the theatrical release of certain titles distorting the films the
    video-cassette producer could distribute under the terms of the agreement.
Tax-Related Engagements
•   Participated in an analysis of the impact on tax revenues to the State of Texas from a change in tax laws
    relating to pension fund managers. Helped demonstrate that changing the apportionment rule from
    “location in which the investment services were performed” to “residence of the investment
    beneficiaries” would not result in a negative fiscal impact.
•   Served as consulting partner on an engagement estimating qualifying research and expenditure costs in
    response to certain expenses disallowed by the IRS. Analysis included developing a methodology to
    estimate qualifying hours and qualifying costs for groupings of employees with missing data.
•   Analyzed whether the salaries paid to the owners/managers of a heavy and highway construction
    company were reasonable in a matter before the IRS. Areas investigated included the cyclical nature of
    the construction industry, the resulting cyclical nature of compensation paid to construction industry
    executives, and the 50th and 75th percentile salaries paid to various types of executives in the construction
    industry.
•   Participated in an analysis of the tax benefit versus detriment to a Plaintiff as a result of ownership in
    certain partnership interests over the 1982-1998 time period. Also involved was an analysis of
    cumulative suspended tax losses, partnership income available for distribution, and changing tax rates
    over time.
•   Quantified the net out-of-pocket cash position of investors who purchased limited partnership interests in
    nine real estate partnerships in an alleged non-disclosure matter. Also quantified the impact caused by
    changes in the Federal income tax laws. Supporting analyses included comparing the actual and
    projected performance of the partnerships taking into account restructurings, refinancings, and
    dissolutions.
Personal Injury and Wrongful Death Cases
•   General Overview (Personal Injury). Assessed damages and lost earnings in various personal injury cases
    involving movie production workers, management consultants, financial consultants, nurses, medical
    doctors, chiropractors, secretaries, truck drivers, airline stewardesses, mechanics, engineers, maintenance
    personnel, carpenters, masonry workers, crane operators, machine operators, actresses, military aircraft
    production workers, tankermen, teachers, film editors, portfolio managers, hair stylists, automobile
    assemblers, landscape architects, sole proprietors, and real estate agents (among others). In each case,
    issues investigated included an assessment of the projected undamaged income, damaged income,
    expected work life of the individual, and appropriate discount rate to use. Assistance to the attorney
    included the preparation of deposition questions, economic analyses, and a critique of the opposing
    economist’s damage model.
•   General Overview (Wrongful Death). Developed numerous damage models in wrongful death cases.
    Issues investigated included the projection of lost earnings, the projected personal consumption
    expenditures of the decedent, and projected lost pension benefits. Professions of the decedents included
    various types of entrepreneurs (e.g., boat store owners, etc.), white-collar workers (e.g. attorneys,
    architects, etc.), and blue-collar workers (e.g., demolition contractors, grocery store clerks, etc.). Ages of
    the decedents ranged from adults to teenagers to children.
     Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14       Page 69 of 123
                                                                                       Keith R. Ugone, page 21

•   Evaluated claims of damages submitted by the family members of 88 decedents from an airplane crash.
    Family members were seeking damages in state and federal courts against the airline and certain parts
    manufacturers. Most of the decedents resided and worked in Asian countries. Researched various data
    sources for information regarding social security benefits, interest rates, and the relevant economic
    statistics for workers in these countries. Evaluated four Plaintiff damages experts’ reports and
    testimonies, summarized our evaluation of these damage models, and calculated alternative damages
    figures. Analysis included evaluating lost earnings, lost business value, lost non-salary benefits, lost
    retirement funds, and lost savings.
Wrongful Termination Cases
•   Evaluated Plaintiff’s alleged lost earnings and lost future earnings capacity in a matter against a major
    shipping company in which the Plaintiff claimed to have resigned his legal counsel position due to the
    Defendant’s alleged criminal conduct and its refusal to conduct an independent investigation. Analyzed
    various employee benefits offered by the Defendant including but not limited to the salaries of similarly-
    situated employees, long term incentive plans, 401(k) plan, paid vacation, stock options, and retirement
    benefits. Also analyzed promotion criteria, similar benefits received by the Plaintiff at alternative
    employment, and the lower cost of living associated with the geographical location of the alternative
    employment.
•   Evaluated Plaintiff’s claimed economic harm in a wrongful termination / negligent misrepresentation
    matter. Plaintiff claimed that pre-termination certain representations by the company dissuaded him
    from resigning and selling his stock holdings, thereby causing economic harm from the subsequent
    decline in the company’s stock price. Analysis included quantifying the salary, bonuses, pension
    benefits, and severance pay the Plaintiff received during the additional time spent with the company as
    compared to the stock price declines that formed the basis of Plaintiff’s damages claim.
•   Evaluated Plaintiff’s loss of earnings claim in an alleged wrongful termination matter in the long
    distance telecommunications industry. Plaintiff was an independent representative with a “downline”
    working for a company using a multilevel marketing sales approach. Analyzed the Plaintiff’s historical
    earnings, business expenses, and the earnings of Plaintiff’s peers to evaluate Plaintiff’s net earnings in
    the absence of the alleged wrongful termination.
•   Evaluated Plaintiff’s damage claim in a wrongful termination matter involving an insurance
    broker/branch manager. Evaluated Plaintiff’s alleged damage period, earnings in the absence of the
    termination, fringe benefits, business expenses, and offsetting earnings. The sales patterns of the
    relevant insurance products at the state and national level were incorporated into the analysis. Also
    analyzed trends within the company with respect to branch manager positions.
•   Evaluated the damages suffered by the manager of an over-the-counter trading department in an alleged
    wrongful termination action. Since the compensation of the manager was based on the profitability of
    the department, one issue investigated was the reason for the decline in the post-termination performance
    of the department.
•   Other Matters. Assessed damages and lost earnings in other wrongful termination cases involving
    internal medicine specialists, neurosurgeons, anesthesiologists, entertainment company executives,
    brokers/traders, secretaries, accountants, attorneys, quality assurance managers, company presidents, real
    estate brokers, property managers, insurance brokers/managers, and military aircraft production workers.
    Areas investigated include many of the same items as described in personal injury cases.
     Case 3:13-cv-01279-WHO               Document 110-9           Filed 10/10/14        Page 70 of 123
                                                                                          Keith R. Ugone, page 22

Other Economic Engagements
•   Conducted an economic analysis of historical and projected lost revenues due to SEC-related
    independence constraints for an information technology consulting entity. The analysis demonstrated
    that SEC rules requiring SEC registrants to disclose the amount of non-audit fees paid to its auditor, as
    well as constraints on the consulting entity’s ability to perform outsourcing or managed application
    services for audit clients significantly impacted business growth relative to the market and its closest
    competitors. The analysis also demonstrated that certain revenue projections assuming independence
    relief were appropriate in light of market conditions and the independence constraints.
•   Conducted an economic cost/benefit analysis of the SEC’s proposed rule changes relating to non-audit
    services performed by auditing firms for audit clients. Analyses demonstrated that public accounting
    firms have an incentive to protect their brand name capital and that purchasers of non-audit services have
    an incentive to maintain investor confidence in the reliability of the audited financial statements.
•   Performed an economic impact analysis on behalf of a major pipeline corporation seeking to gain
    regulatory approval for the construction of an oil pipeline in the Pacific Northwest. Evaluated the net
    economic impact of the project on employment, income, and consumer expenditures in the region. New
    employment opportunities resulting from construction and maintenance of the pipeline were compared to
    the potential lost jobs associated with the alternative means of transporting the petroleum.
•   Participated in a major antitrust risk assessment exercise for a large industrial corporation. Work
    performed included evaluating the major litigation risks in the areas of monopolization, price
    discrimination, price fixing, illegal tying, and exclusive dealing. A detailed questionnaire designed to
    collect relevant economic data and identify potential risks was constructed and sent to the corporation’s
    division managers.
•   Evaluated revenue projections relating to an electronic toll collection system. The system was designed
    to recover lost toll revenue and other administrative fees from toll violators traveling along a consortium
    of tollways in New York, New Jersey, and Delaware. Analyzed four critical revenue drivers in the
    projections (number of transactions, violation rates, citation rates, and collections rates) and the potential
    variability of certain components of the projections by compiling comparative data through interviews
    with industry participants. Analysis was used in assisting lenders evaluating the economic viability of
    the project.
•   In a bankruptcy matter, analyzed the expected rate of return that could be earned on a portfolio of assets.
    Included in the analysis was determining the investment portfolio of a prudent pension fund manager and
    the historical risk premiums earned on each category of assets in the portfolio. The assets were being
    held to meet future pension plan liabilities.
•   Conducted an analysis of low-cost housing in Los Angeles County (CA) to determine whether sufficient
    housing was available to house the County’s general relief recipient population. In separate
    engagements, conducted similar studies for San Bernardino County (CA) and Alameda County (CA).
    The Alameda County study also analyzed earned income incentives and food stamp allotments as a
    source of income in addition to the County’s monthly general relief assistance. An affordable housing
    analysis was also conducted for the State of New Jersey’s Department of Health relating to the state’s
    child exclusion policy and AFDC recipients.
•   Conducted an economic analysis on behalf of the California Public Utilities Commission. Tasks
    included incorporating elasticities into alternative rate design and pricing models, analyzing subsidies
    accruing to various residential consumer groups under alternative rate designs, and estimating the
    relative welfare loss associated with each alternative rate design.
     Case 3:13-cv-01279-WHO             Document 110-9          Filed 10/10/14       Page 71 of 123
                                                                                      Keith R. Ugone, page 23

Fraud/Criminal-Related Engagements
•   Evaluated claimed damages in a suit brought by Plaintiff relators against a major information technology
    company for allegedly submitting false and fraudulent claims to the U.S. government under a Medicaid
    program providing health-cost reimbursements to school districts. Conducted various benchmarking
    analyses including analyzing a “claimed amount” versus “paid” pattern analysis and a reimbursement
    rate analysis across Defendant-administered school districts and non-Defendant-administered school
    districts. Also conducted a reimbursement rate benchmarking analysis associated with school districts
    before and after administration by the Defendant. Concluded there was no economic evidence of a
    systematic effort to defraud the U.S. government.
•   Evaluated Plaintiff’s claim of damages stemming from the alleged embezzlement of funds and
    falsification of income statements by a bank official relating to a mortgage lending division of a bank.
    Analysis identified errors made by the bank in specifying the length of the damage period and not
    properly accounting for accounts receivable collections made post-discovery of the alleged illegal acts.
•   Analyzed skilled nursing facility nursing ratios in a criminal health care fraud matter relating to
    Medicare reimbursements. At issue was Defendant’s ratio of skilled nursing costs to unskilled nursing
    costs alleged to be outside of governmental guidelines. Analyzed facility-level ratios by establishing
    peer groups of facilities based upon size of facility, number of participating beds, skilled utilization
    percentage, state location, average length of stay, and facilities with similar levels of acuteness.
•   Estimated freight overcharge damages on behalf of a major multinational information technology
    services firm. Analysis required the utilization of a database of all freight shipments made over a five-
    year period, including incorporating subsequent credit memos, discounts, and dimensional weight
    charges. Analysis compared actual freight charges to rates charged by alternative carriers for shipments
    of identical ship method (e.g., ground, next day, two day), weight, and destination.
•   Performed economic analysis relating to a health care criminal matter in which a group of doctors and a
    hospital were alleged to have conspired to receive remuneration in return for the referral of Medicare-
    eligible patients. Analyze included evaluating the savings from reduced admissions rates and from
    reduced average length of stays. Also analyzed the profitability of certain laboratory-related work.

TEACHING EXPERIENCE
Macroeconomic Principles and Intermediate Macroeconomics
Topics covered included unemployment/full employment, inflation/price stability, economic growth/gross
domestic product, determination of national income, and monetary and fiscal policies.
Microeconomic Principles and Intermediate Price Theory
Topics covered included functioning of markets (demand and supply analysis), elasticities, theory of the firm
(profit maximization), industry performance, allocation of resources, and government regulation.
Companies In Crisis
Topics covered included companies, markets, and industries in contemporary crisis situations from external
or internal changes in the operating environment or significant conflict. Topics included case studies
focusing on solutions for companies facing competitive issues, management issues, or litigation-related
issues.

PUBLICATIONS
“An Economic Framework for Analyzing Covenants Not to Compete” (with Elaine Fleming and Steven
Herscovici), Expert Witnesses, ABA Section of Litigation, Spring/Summer 2011, Vol. 7 No. 1.
“Financial Expert Witness Challenges and Exclusions: Results and Trends in Federal and State Cases Since
Kumho Tire” (with Lawrence F. Ranallo), Accountants’ Handbook, Tenth Edition 2004 Supplement,
forthcoming, edited by D.R. Carmichael, New York: John Wiley & Jones, Inc., 2004.
     Case 3:13-cv-01279-WHO             Document 110-9         Filed 10/10/14       Page 72 of 123
                                                                                     Keith R. Ugone, page 24

“Accounting for Damages in Intellectual Property Litigation” (with Tony Samuel and John Davis), Building
and Enforcing Intellectual Property Value – an International Guide for the Boardroom 2003.
“Challenges to the Admissibility of Financial Expert Witness Testimony” (with Lawrence F. Ranallo),
Litigation Services Handbook, 2002 Supplement, edited by Roman L. Weil, Michael J. Wagner, and Peter B.
Frank, 2A.1 – 2A.17, New York: John Wiley & Sons, Inc., 2001.
“Calculation of Lost Earnings” (with Carlyn R. Taylor and Randi L. Firus), Litigation Services Handbook,
edited by Roman L. Weil, Michael J. Wagner, and Peter B. Frank, 11.1 – 11.16, New York: John Wiley &
Sons, Inc., 2001.
“Preparing the Financial Expert or Economist” (with George G. Strong, Jr.), Witness Preparation, V. Hale
Starr, 13.4 – 13.4.1, New York: Aspen Law & Business, A Division of Aspen Publishers, Inc., 1998.
“The Effect of Institutional Setting on Behavior in Public Enterprises: Irrigation Districts in the Western
States” (with John M. McDowell), Arizona State Law Journal, Vol. 1982, No. 2, 453 – 496.

SELECTED CLIENTS OVER THE PAST FIVE YEARS
Selected clients over approximately the past five years include but are not limited to: Abbott Laboratories;
Akamai Technologies, Inc.; America Online, Inc.; Apple Inc; Autobytel Inc.; Blackboard Inc.; Blackstone
Group; Blockbuster Inc.; Bioengineered Supplements & Nutrition, Inc.; CDX Gas; Chrysler; Cigna; Coca
Cola Company; Covidien; Crane Co.; Cummins-Allison Corp.; DirecTV, Inc.; Dow Chemical Company;
Electronic Data Systems; Ernst & Young LLP; GoDaddy.com, Inc.; Google; Gorlick Distribution Centers;
Haggar; Halliburton; Hyundai Motor America; Idearc; Ingenico Inc.; Juniper; LG Electronics, Inc.; Lutron
Electronics Co., Inc.; McDonald’s Corporation; Medtronic, Inc.; Merial Limited; Microsoft Corporation;
National Dairy Holdings, L.P.; New York Times, Company; Nike, Inc.; Nintendo; Nortel Networks Inc.;
Research in Motion; Rohm Co. Ltd.; Sabre Inc.; Samsung; Shure, Inc.; Shell Exploration & Production
Company; SIGA Technologies; Snapple Beverage Corporation; St. Jude Medical, Inc.; Stolt Nielson; TiVo
Inc; T-Mobile USA, Inc.; Tyco Heathcare; UBS; United States Surgical Corporation; VeriFone Systems,
Corp.; Verizon; Versata (f/n/a Trilogy); Volkswagen Group of America, Inc.; Waste Management; Wachovia
Corporation; Wells Fargo & Company; Wendy’s; Wyndham International, Inc.; Yahoo!
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 73 of 123




                             Exhibit 2
    Case 3:13-cv-01279-WHO             Document 110-9          Filed 10/10/14   Page 74 of 123
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.


                              KEITH R. UGONE, PH.D.
                  TRIAL, HEARING, AND ARBITRATION TESTIMONY1

Personal Audio, LLC vs. CBS Corporation (In The United States District Court For The
Eastern District Of Texas, Marshall Division, Case No. 2:13-cv-00270-JRG-RSP) (2014)

United States of America ex rel. Kurt Bunk and Daniel Heuser v. Birkart Globistics GMBH &
Co. Logistik Und Service KG, et al. and United States of America ex rel. Ray Ammons v. The
Pasha Group, Gosselin World Wide Moving, N.V., and Gosselin Group, N.V. (In The United
States District Court For The Eastern District Of Virginia, Alexandria Division, No. 1.02cv1168
(AJT/TRJ)) (2014)

NuVasive, Inc. vs. Laura Lewis (In The United States District Court For the Western District Of
Texas, Austin Division, Civil Action No. 1:12-CV-01156) (2014)

Magnum Oil Tools International, Ltd. vs. Tony D. McClinton, JayCar Energy Group. L.L.C.,
Surf Frac Wellhead Equipment Company, Inc., McClinton Energy Group, L.L.C., Motors Mills
Snubbing, L.L.C., and Stan Keeling (In The United States District Court For The Southern
District Of Texas, Corpus Christi Division, Civil Action No: 2-12-cv-00099) (2014: preliminary
injunction hearing)

NXP B.V. vs. Research In Motion, Ltd. and Research In Motion, Corp. (United States
District Court For The Middle District Of Florida, Orlando Division, Case 6:12-cv-498-ORL-
22GJK) (2014)

In The Matter Of Certain Wireless Devices With 3G And/Or 4G Capabilities And Components
Thereof (InterDigital Communications, Inc., InterDigital Technology Corporation, et al. vs.
Samsung Electronics Co., Ltd., Samsung Electronics American, Inc., and Samsung
Telecommunications America, LLC; United States International Trade Commission,
Washington, D.C., Investigation No. 337-TA-868) (2014)

Sabatino Bianco, M.D. vs. Globus Medical, Inc. (In The United States District Court For The
Eastern District Of Texas, Marshall Division, Civil Action No. 2:12-cv-147-JRG) (two
testimonies: trial (2014) and evidentiary hearing on on-going royalties (2014))

SimpleAir, Inc. vs. Microsoft Corporation, Motorola Mobility, Inc., Google Inc., et al. (In The
United States District Court For The Eastern District Of Texas, Marshall Division, Civil Action
No. 2:11-cv-00416) (two trials; 2014)

PharmAthene, Inc. vs. SIGA Technologies, Inc. (In The Court Of Chancery In The State Of
Delaware, Civil Action No. 2627-VCP) (2013)

Brightstar Corp. and Flipswap Services, LLC vs. Flipswap, Inc. (Judicial Arbitration And
Mediation Services, Case No. 1460000526) (2013)

1
 Trial, hearing, and arbitration testimony over the 1990-2014 time period. Case citations and
dates subject to verification. Clients bolded. Deposition testimony begins on page 10.
                                                    1
   Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14   Page 75 of 123
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.


Lake Cherokee Hard Drive Technologies, L.L.C. vs. Bass Computers, Inc., LSI Corporation,
Marvell Semiconductor, Inc., Samsung Semiconductor, Inc., and Tech Data Corporation (In
The United States District Court For The Eastern District Of Texas, Marshall Division, Case No.
2:10-cv-216 (TJW-CE)) (2013)

Abraham & Veneklasen Joint Venture, Abraham Equine, Inc. and Jason Abraham vs. American
Quarter Horse Association (In The United States District Court For The Northern District Of
Texas, Amarillo Division, Civil Action No. 02:12-cv-00103-J) (2013)

Hitachi Consumer Electronics Co., Ltd. and Hitachi Advanced Digital, Inc. vs. Top Victory
Electronics (Taiwan) Co. Ltd., TPV Int’l (USA), Inc., Envision Peripherals, Inc., Top
Victory Electronics (Fujian) Co. Ltd., TPV Electronics (Fujian) Co. Ltd., TPV Technology
Ltd., and VIZIO, Inc. (United States District Court For The Eastern District Of Texas, Marshall
Division, Civil Action No. 2:10-CV-260) (2013)

ePlus Inc., vs. Lawson Software, Inc. (In The United States District Court For The Eastern
District Of Virginia, Richmond Division, Civil Action No. 3:09-CV-620 (RFP)) (2013)

Alexsam, Inc. vs. IDT Corporation (In The United States District Court For The Eastern
District Of Texas, Marshall Division, Case No. 2:11-CV-362-RSP) (2013)

In Re: Urethanes Antitrust Litigation (Class) – Seegott Holdings, Inc., et al. vs. The Dow
Chemical Company (In The United States District Court For The District Of Kansas, MDL-04-
1616 (JWL/JPO), No. 05-2265-JWL) (2013)

FLIR Systems, Inc. vs. Sierra Media, Inc. and Fluke Corporation (The United States District
Court, District Of Oregon, Portland Division, Case No. 3:10-CV-971-HU) (2012) (two trial
testimonies: affirmative case and counterclaim)

I/P Engine, Inc. vs. AOL, Inc., Google Inc., IAC Search & Media, Inc., Gannett Company,
Inc., and Target Corporation (In The United States District Court For The Eastern District Of
Virginia, Norfolk Division, Civil Action No. 2:11-cv-512-RAJ) (2012)

DDR Holdings, LLC vs. Hotels.com, L.P.; Expedia, Inc.; Travelocity.com, L.P.; Site59.com,
LLC; Internetwork Publishing Corporation d/b/a Lodging.com; Neat Group Corporation; Orbitz
Worldwide, LLC; International Cruise & Excursion Gallery, Inc.; OurVacationStore.com,
Inc.; National Leisure Group, Inc. / World Travel Holdings, Inc.; and Digital River, Inc. (In
The United States District Court For The Eastern District Of Texas, Marshall Division, Civil
Action No. 2:06-CV-42-JRG) (2012)

Tyco Healthcare Group LP and United States Surgical Corporation vs. Ethicon Endo-
Surgery, Inc. (In The United States District Court For The District Of Connecticut, Civil Action
No: 3:10-cv-00060 (JBA)) (2012)




                                                    2
   Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14   Page 76 of 123
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

CardSoft, Inc. and CardSoft (Assignment For The Benefit Of Creditors), LLC vs. VeriFone
Systems Corporation; Hypercom Corporation; Ingenico S.A.; Ingenico Corp.; Ingenico
Inc.; Shera International Ltd.; and Blue Bamboo (UUSA), Inc. (United States District Court For
The Eastern District Of Texas, Marshall Division, Civil Action No. 2:08-cv-00098) (2012)

Merial Limited and Merial SAS vs. Cipla Limited, Velcera, Inc., and FidoPharm, Inc. (In The
United States District Court For The Middle District Of Georgia, Athens Division, Case No.
3:07-CV-125 (CDL)) (2012; injunction hearing)

Geoffrey L. Berman, Trustee of the SB Liquidation Trust vs. Ernst & Young LLP
(International Institute For Conflict Prevention & Resolution, New York, NY) (2012)

CEATS, Inc. vs. Continental Airlines, Inc.; Ticketmaster, L.L.C.; Tickets.com, Inc.;
TicketNetwork, Inc.; TicketsNow.com, Inc.; AirTran Airways, Inc.; Alaska Airlines, Inc.;
Delta Air Lines, Inc.; Jet Blue Airways Corporation; United Air Lines, Inc.; US Airways,
Inc.; and Virgin America, Inc. (In The United States District Court For The Eastern District Of
Texas, Tyler Division, Case No. 6:10-cv-120 LED) (2012)

Halliburton Energy Services, Inc. vs. Weatherford International, Inc. and BJ Services
Company (In The United States District Court For The Northern District Of Texas, Dallas
Division, Civil Action No. 307-cv-2144-K) (2012)

Convolve, Inc. vs. Dell, Inc., Western Digital Corporation, Hitachi Global Storage
Technologies, Inc., and Hitachi, Ltd. (In The United States District Court For The Eastern
District Of Texas, Marshall Division, Civil Action No. 2:08-cv-244) (2011)

Personal Audio, LLC vs. Apple Inc.; Sirius XM Radio, Inc.; XM Satellite Radio, Inc.; Coby
Electronics, Corp.; Archos, Inc. (United States District Court For The Eastern District Of Texas,
Lufkin Division, Case 9:09-cv-00111-RC) (2011)

Bedrock Computer Technologies LLC vs. Yahoo! Inc. (In The United States District Court For
The Eastern District Of Texas, Tyler Division, Case No. 6:09-cv-269) (2011)

Bedrock Computer Technologies LLC vs. Google Inc. (In The United States District Court For
The Eastern District Of Texas, Tyler Division, Case No. 6:09-cv-269) (2011)

Cheetah Omni LLC vs. Verizon Services Corporation, Verizon Business Network Services
Inc., and Verizon Enterprise Delivery LLC (In The United States District Court For The
Eastern District Of Texas, Tyler Division, Civil Action No. 6:09-cv-260-LED) (2011)

Alexsam, Inc. vs. IDT Corporation (In The United States District Court For The Eastern
District Of Texas, Marshall Division, Case No. 2:07-CV-420-TJW) (2011)

PharmAthene, Inc. vs. SIGA Technologies, Inc. (In The Court Of Chancery In The State Of
Delaware, Civil Action No. 2627-VCP) (2011)




                                                    3
   Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14   Page 77 of 123
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

St. Jude Medical, Inc. and St. Jude Medical Puerto Rico LLC vs. Access Closure, Inc. (In
The United States District Court For The Western District Of Arkansas, Texarkana Division,
Case No. 4:08-cv-04101-HFB) (2010)

Affinity Labs of Texas, LLC vs. BMW North America, LLC; BMW Manufacturing Co., LLC;
Hyundai Motor America, Inc.; Hyundia Motor Manufacturing Alabama, LLC; Kia Motors
America, Inc.; Mercedes-Benz USA, LLC; Mercedes-Benz U.S. International, Inc.; Volkswagen
Group of America, Inc. (In The United States District Court For The Eastern District Of Texas,
Lufkin Division, Civil Action No. 9:08-cv-164-RC) (2010)

Mirror Worlds, LLC vs. Apple, Inc. (United States District Court For The Eastern District Of
Texas, Tyler Division, Civil Action No. 6:08-CV-88-LED) (2010)

VirnetX Inc. and Science Applications International Corporation vs. Microsoft Corporation (In
The United States District Court For The Eastern District Of Texas, Tyler Division, Civil Action
No. 607CV80 (LED)) (2010)

Carpathia Hosting, Inc., Carpathia Hosting, Inc. as nominee and trustee, for Triumviri, Inc., and
Triumviri, Inc. vs. Electronic Data Systems, LLC (JAMS Arbitration, Washington, D.C., No.
1410005118) (2010)

Cummins-Allison Corp. vs. Shinwoo Information & Telecommunications Co., Ltd., n/k/a SBM
Co., Ltd., and Amro-Asian Trade, Inc. (In The United States District Court For The Eastern
District Of Texas, Lufkin Division, Civil Action No. 9:07cv196 and Civil Action No. 9:07cv228,
Consolidated) (2009)

i4i Limited Partnership and Infrastructures for Information Inc. vs. Microsoft Corporation (In
The United States District Court For The Eastern District Of Texas, Tyler Division, Civil Action
No. 6:07-CV-113-LED) (2009)

Paradox Security Systems, Ltd., Shmuel Hershkovitz, and Pinhas Shpater vs. ADT Security
Services, Inc., Digital Security Controls, Ltd., Monitronics International, Inc., and Protection
One, Inc. (In The United States District Court For The Eastern District Of Texas, Marshall
Division, C. A. No. 2:06-CV-462 (TJW)) (2009)

Hearing Components, Inc. vs. Shure, Inc. (In The United States District Court For The Eastern
District of Texas, Lufkin Division, Civil Action No. 9:07-cv-104 (RHC)) (2009)

Rambus, Inc. vs. Samsung Electronics Co., Ltd., Samsung Electronics America, Inc.,
Samsung Semiconductor, Inc., and Samsung Austin Semiconductor, L.P. (United States
District Court, Northern District Of California – San Jose Division, Case No. 05 02298 RMW)
(2008)

Abbott Laboratories and TheraSense, Inc. vs. Becton, Dickinson and Company and Nova
Biomedical Corp. (In The United States District Court, Northern District of California, Civil
Action No. C04-2123 WHA) (2008)



                                                    4
   Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14   Page 78 of 123
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

In the Matter of Certain 3G Wideband Code Division Multiple Access (WCDMA) Handsets and
Components Thereof (InterDigital Communications Corporation and InterDigital Technology
Corporation vs. Samsung Electronics Co., Ltd, Samsung Electronics America, Inc., and
Samsung Telecommunications America LLC; The United States International Trade
Commission, Washington, D.C., Investigation No. 337-TA-601) (2008)

Bueno Conato, LLC vs. Bajio LLC, Bajio National LLC, Bajio Franchising LLC, and Doctor’s
Associates, Inc. (American Arbitration Association, Western Case Management Center, Case
No. 77 114 Y 00254 06 WYGI) (2008)

Akamai Technologies, Inc. and Massachusetts Institute of Technology vs. Limelight
Networks, Inc. (In The United States District Court, District of Massachusetts, Civil Action No.
06 CA 11109 RWZ and Civil Action No. 06 CA 11585 RWZ) (2008)

Blackboard Inc. vs. Desire2Learn Inc. (In The United States District Court For The Eastern
District of Texas, Lufkin Division, Case No 9:06CV155) (2008; trial and injunction hearing)

Applied Medical Resources Corp. vs. United States Surgical Corporation (In The United
States District Court For The Central District Of California, Southern Division, Case No. SACV
03-1267 CJC (MLGx)) (2008)

Electronic Data Systems Corporation vs. Towers, Perrin, Forster & Crosby, Inc. (American
Arbitration Association Northeast Case Management Center, Case No. 13 489 Y 00146 07)
(2007)

Computer Acceleration Corporation vs. Microsoft Corporation (In the United States District
Court for the Eastern District of Texas, Lufkin Division, Civil Action No. 9:06-CV-140-RHC)
(2007)

YC Partners, LTD. d/b/a Yantis Company vs. Zach Hall; Rodman Excavation, Inc. d/b/a
Rodman Companies, San Antonio Division; Rodman Utilities, L.P.; Rodman Power &
Communications, LLC; Rodman Natural Resources, Inc.; Rodman Paving, Inc. (In The
District Court, Bexar County, Texas, 285th Judicial District, No. 2007-CI-03027). (2007;
hearing regarding Motion to Compel Plaintiff’s Documents)

QPSX Developments 5 Pty Ltd vs. Nortel Networks Inc. (In the United States District Court for
the Eastern District of Texas, Marshall Division, Civil Action No. 2:05CV-268) (2007)

AVID Identification Systems, Inc. vs. Philips Electronics North America Corporation,
Koninklijke Philips Electronics N.V., The Crystal Import Corporation, Medical Management
International, Inc., and Datamars SA (In The Eastern District of Texas, Marshall Division, Case
No. 2:04-CV-183) (2006)

TiVo Inc. vs. EchoStar Communications Corporation, EchoStar DBS Corporation, EchoStar
Technologies, and Echosphere Limited Liability Company (United States District Court for the
Eastern District of Texas, Marshall Division, Case No. 2 – 04CV01 DF) (2006)



                                                    5
   Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14   Page 79 of 123
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

William Ziegler and DenLou, Inc. vs. Synergistic International, LLC (American Arbitration
Association, Dallas, Case No.: 71 114 E 00733 04) (2005)

Dr. Phillips, Inc. vs. Control Laser Corporation and Excel Technology, Inc. (In the Circuit
Court of the Ninth Judicial Circuit in and for Orange County, Florida, Case No. 02-CA-000075,
Division: 32, Business Court) (2005)

William A. Wise vs. El Paso Corporation (American Arbitration Association, Houston, Case
No. 70-Y-116-00327-04) (2005)

Aviall Services, Inc. vs. Honeywell International, Inc. and Kelly Aerospace, Inc. (American
Arbitration Association, Los Angeles, Arbitration No. 71 Y 181 00717 03) (2005)

MCI Worldcom Network Services, Inc. vs. Twister Communications Network, Inc. (In the
District Court of Montgomery County, Texas, 221st Judicial District, Civil Action No. 00-05-
03124CV) (2005)

Kathleen C. Cailloux, Kenneth F. Cailloux, Paula L. Heilman, and Robert Stephen Andresakis
vs. Baker Botts, L.L.P., Wells Fargo Bank Texas, N.A., William R. Goertz, S. Stacy Eastland,
and Stephen T. Dyer (In the 198th Judicial District Court of Kerr County, Texas, Civil Action
No. 03-603-B) (2005)

Brooktrout, Inc. vs. Eicon Networks Corporation, Eicon Networks, Inc. (In the United States
District Court for the Eastern District of Texas, Marshall Division, Case Number 03-CV-59)
(2004)

Colgate-Palmolive Company vs. The Procter & Gamble Company (In the United States
District Court for the Southern District of New York, 03 Civ. 9348 (LLS) (DFE)) (2004)

Electronic Data Systems Corp. vs. Aspect Communications Corp. (American Arbitration
Association, San Francisco, Case No. 74 Y 117 00586 03 GAP) (2004)

PK Ventures, Inc. and Subsidiaries, PK Ventures Limited Partnership, and Robert M. Rose
and Alice N. Rose vs. Commissioner of Internal Revenue (United States Tax Court, Jacksonville,
Florida, Docket Nos. 005836-99, 006395-99, and 10154-99) (2004)

Brine, Inc. and Sports Licensing, Inc. vs. STX, Inc. and STX, LLC (In the United States
District Court for the District Massachusetts, Worchester Division, Civil Action No. 99-40167)
(2003)

Teleplus, Inc., vs. Avantel, S.A. (In the United States District Court Western District of Texas,
San Antonio Division, Civil Action No. SA-98-CA-0849 FB) (2003)

Cavalry Investments, L.L.C. vs. Sunstar Acceptance Corporation and NationsCredit
Commercial Corporation (County Court at Law, Number 4, Dallas County, Texas, Cause No.
99-02296-D) (2003)



                                                    6
   Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14   Page 80 of 123
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

Steven R. Keene d/b/a Pagers Plus vs. AT&T Wireless, Inc., a/k/a AWS National Accounts,
L.L.C., and First Cellular Group of Shreveport, Inc. d/b/a AT&T Wireless Services (Judicial
Arbitration and Administration Services, Inc.) (2003)

Poly-America, Inc. vs. Serrot International, Inc. (In the United States District Court for the
Northern District of Texas, Dallas Division, Civil Action No. 3:00CV1457-D) (2002)

Morgan Howard, L.L.C. vs. Immedient, Inc. (In the County Court at Law No. 3, Dallas County,
Texas, Cause No. 01-899-C) (2002)

Andrew Cumming vs. J. C. Penney Company, Inc. (In the District Court of Dallas County,
Texas, 160th Judicial District, Civil Action No. 71-160-00077-01) (2002)

Inter-Tel, Incorporated vs. Bank of America, Arizona (In the Superior Court of the State of
Arizona in and for the County of Maricopa, Case No. CV 96-00867) (2002)

COC Services, Ltd. vs. CompUSA, Inc., Grupo Carso S.A. de C.V., Grupo Sanborns S.A. de
C.V., TPC Acquisition Corp., Carlos Slim Helu and James Halpin (In the District Court 116th
Judicial District of Dallas County, Texas, Case No. 0000023) (2001)

United States of America vs. Dan Anderson (In the United States District Court for the District
of Kansas, Civil Action No. 2:99mc205 and 2:99mc207) (2000)

Scott K. Ginsburg vs. Goldman, Sachs & Co. (Before the National Association of Securities
Dealers, Inc., Dallas) (2000)

TCP Holdings, LLC, Robert Neely, and David Thomas vs. Tim Kirk (Before the American
Arbitration Association, Dallas, Case No. 71 18000564 98) (2000)

United States of America vs. Dan Anderson and Baptist Medical Center (In the United States
District Court for the District of Kansas, Civil Action No. 2:99mc205 and 2:99mc207) (1999;
Sentencing Hearing)

In the Matter of Application No. 96-1, Olympic Pipe Line Company: Cross Cascade Pipeline
Project (Before the State of Washington Energy Facility Site Evaluation Council) (1999)

Magnetic Technologies, S.P.R.L. vs. Connectware, Inc. (In the District Court Dallas County,
Texas, 68th Judicial District) (1998; Daubert/Robinson Hearing Testimony and Trial Testimony)

Jeannean Heller, CRNA; Joanne Lewis, CRNA; Harold Newsom, CRNA; and Lola H. Wright,
CRNA vs. Raymond M. Dunning, Jr. and Columbia Medical Center of Lewisville
Subsidiary L.P., d/b/a Columbia Medical Center of Lewisville, Dallas, Texas (American
Arbitration Association, Dallas, Texas Region) (1998)

Proposed Form A Acquisition of Control of Universal Fidelity Life Insurance Company, an
Oklahoma Domestic stock insurer, by Conseco, Inc., A Delaware Corporation (Before the
Insurance Commissioner of the State of Oklahoma, Case No. 97-207-TRN) (1998)


                                                    7
   Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14   Page 81 of 123
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

Sledge W. Killion vs. Metropolitan Life Insurance Company, et al. (Before the National
Association of Securities Dealers, Inc., Dallas, NASD Arbitration No. 95-05997) (1997)

Reedrill Corporation vs. Driltech, Inc. (U.S. District Court for the Eastern District of Texas,
Sherman Division, Civil Action No. 4:95CV189) (1997)

Robert Tuck vs. Westec Security, Inc. (Superior Court of the State of California for the County
of Los Angeles, Case No. BC131221) (1996)

Exar Corporation vs. SGS-Thomson Microelectronics Srl (Court of International Arbitration of
the International Chamber of Commerce, New York) (1996)

Nationwide Business Telephones and Team Centrex vs. Introlink Communications System,
Inc. and Pacific Bell, Inc. (Superior Court of the State of California for the County of Los
Angeles, Case No. BC009783) (1996)

TriCom, Inc. vs. Electronic Data Systems Corporation (U.S. District Court for the Eastern
District of Michigan, Southern Division, Civil Action No. 2:92CV76374) (1995)

Rauscher, Pierce, Refsnes, Inc. vs. Alfred W. Anderson, Jr. (Before the National Association of
Securities Dealers, Inc., Dallas) (1995)

Ivy Goth vs. City of Los Angeles and Department of Water and Power (Superior Court of the
State of California for the County of Los Angeles, Case No. SC013502) (1995)

Bio-Medical Applications Management Company, Inc. vs. Dallas Nephrology Associates
(U.S. District Court for the Eastern District of Texas, Sherman Division, Civil Action No.
4:94CV37) (1995)

Cybor Corporation vs. FAS Technologies, Inc. (U.S. District Court for the Northern District of
California, San Jose, Civil Action No. 5:93CV20712) (1995)

Phillips Petroleum Company vs. Rexene Corporation (U.S. District Court for the District of
Delaware, Civil Action No. 1:90CV208) (1994)

Donald J. Dougher, et al. vs. Gerard J. Dougher, Sr., et al. (Superior Court of the State of
California for the County of Orange, Case No. 677451) (1994)

Texas State Bank, et al. vs. Electronic Data Systems Corporation (206th District Court of
Hidalgo County, Texas) (1994)

Union Oil Company of California vs. International Insurance Company, et al. (Superior Court
of the State of California) (1993)

Chroma Lighting and Charles T. Von Der Ahe vs. GTE Products Corporation and Sylvania
Lighting Services Corporation (U.S. District Court for the Central District of California, Civil
Case No. 2:91CV6424) (1993)


                                                    8
   Case 3:13-cv-01279-WHO              Document 110-9          Filed 10/10/14   Page 82 of 123
Trial, Hearing, and Arbitration Testimony of Keith R. Ugone, Ph.D.

Arley Del Gado vs. County of Los Angeles (Superior Court of the State of California for the
County of Los Angeles) (1993)

Villarreal vs. East Union High School District (Superior Court of the State of California) (1993)

Sunbelt Television, Inc. vs. Jones Intercable, Inc. (U.S. District Court for the Central District of
California, Civil Case No. 2:91CV3506) (1992)

Clayton Jacobson vs. Kawasaki Heavy Industries, Ltd., Japan; Kawasaki Motors Corporation,
USA; and Kawasaki Motors Manufacturing Corporation, USA (U.S. District Court for the
Central District of California) (1991)

Advanced Building Maintenance, Inc. vs. Premier Ventures, Inc., dba Premier Building
Maintenance (Superior Court of the State of California for the County of Los Angeles) (1990)

Southwest Tank Liners vs. Joor Manufacturing, Inc. (U.S. District Court for the Central District
of California) (1990)




                                                    9
    Case 3:13-cv-01279-WHO            Document 110-9     Filed 10/10/14     Page 83 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

                                   KEITH R. UGONE, PH.D.
                                  DEPOSITION TESTIMONY2

Smartflash LLC and Smartflash Technologies Limited vs. Apple Inc., Robot Entertainment, Inc.,
KingsIsle Entertainment, Inc., HTC Corporation, and Game Circus LLC (In The United States
District Court For The Eastern District Of Texas, Tyler Division, Civil Action No. 6:13-CV-
447); Smartflash LLC and Smartflash Technologies Limited vs. Samsung Electronics Co.,
Ltd., Samsung Electronics America, Inc., Samsung Telecommunications America, LLC,
HTC Corporation, HTC America, Inc., Exedea, Inc., and Game Circus LLC (In The United
States District Court For The Eastern District Of Texas, Tyler Division, Civil Action No. 6:13-
CV-448) (2014)

Adaptix, Inc. vs, Alcatel-Lucent USA, Inc. and Cellco Partnership d/b/a Verizon Wireless (In
The United States District Court For The Eastern District Of Texas, Tyler Division, Civil Action
No. 6:12-cv-00122) (2014)

Adaptix, Inc. vs, Apple Inc. and Cellco Partnership d/b/a Verizon Wireless (In The United
States District Court For The Northern District Of California, San Jose Division, Civil Action
No. 5:13-cv-01776-PSG); Adaptix, Inc. vs, HTC Corporation, HTC America, Inc., and Cellco
Partnership d/b/a Verizon Wireless (In The United States District Court For The Northern
District Of California, San Jose Division, Civil Action No. 5:13-cv-01844-(PSG)); Adaptix, Inc.
vs, LG Electronics, Inc., LG Electronics USA, Inc., and Cellco Partnership d/b/a Verizon
Wireless (In The United States District Court For The Eastern District Of Texas, Tyler Division,
Civil Action No. 6:13-cv-00120); Adaptix, Inc. vs, Pantech Wireless, Inc. and Cellco
Partnership d/b/a Verizon Wireless (In The United States District Court For The Eastern
District Of Texas, Tyler Division, Civil Action No. 6:13-cv-00020) (2014)

Transcenic, Inc. vs. Google Inc., Microsoft Corporation, America Online, Inc., MapQuest, Inc.
(In The United States District Court For The District Of Delaware, C.A. No. 11-582-LPS) (2014)

Georgetown Rail Equipment Company vs. Holland L.P. (United States District Court, Eastern
District Of Texas, Tyler Division, Case No. 6:13-cv-366-MHS-JDL) (2014)

Uniloc USA, Inc. and Uniloc Luxembourg S.A. vs. Activision Blizzard, Inc. (In The United
States District Court For The Eastern District Of Texas, Tyler Division, Civil Action No. 6:13-
cv-00256) (2014)

Ultratec, Inc. and CapTel, Inc. vs. Sorenson Communications, Inc. and CaptionCall, LLC
(United States District Court, Western District Of Wisconsin, Case No.:3:13-cv-00346) (2014)




2
 Deposition testimony over the 1990-2014 time period. Case citations and dates are subject to
verification. Clients bolded.


                                                10
   Case 3:13-cv-01279-WHO             Document 110-9    Filed 10/10/14     Page 84 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

Personal Audio, LLC vs. CBS Corporation, NBCUniversal Media, LLC, FOX Broadcasting
Company, FOX Networks Group, Inc., Lotzi Digital, Inc. et al. (In The United States District
Court For The Eastern District Of Texas, Marshall Division, Case No. 2:13-cv-00270-JRG-RSP,
2:13-cv-00271-JRG-RSP, 2:13-cv-577-JRG-RSP, 2:13-cv-00014-JRG-RSP) (2014)

In Re ConAgra Foods, Inc. (Wesson Oil) (United States District Court, Central District Of
California, Western District, Case No. CV 11-05379-MMM, MDL No. 2291) (2014)

Optimize Technology Solutions, LLC vs. Staples, Inc., Dillard’s, Inc., HSN, Inc., J.C.Penney
Corporation, Inc., and Recreational Equipment, Inc. (In The United States District Court For
The Eastern District Of Texas, Marshall Division, Civil Action No. 2:11-CV-00419-JRG) (2014)

NuVasive, Inc. vs. Laura Lewis (In The United States District Court For the Western District Of
Texas, Austin Division, Civil Action No. 1:12-CV-01156) (2014)

Connecticut Ironworkers Employers Association, Inc., et al. vs. New England Regional
Council of Carpenters (United States District Court, District Of Connecticut, Docket No. 3:10-
CV-165-SRU) (2014)

United Services Automobile Association vs. Mitek Systems, Inc. (In The United States District
Court For The Western District Of Texas, San Antonio Division, Case No. 5:12-cv-00282-FB)
(2014)

Florida Atlantic University Research Corporation and Domaine Associates, LLC vs. Acer Inc,
ASUS Computer International, and TPV Technology Limited, et al. (United States District
Court, Southern District Of Florida, Case No.: 9:12-cv-80694-PAS, Case No.: 9:12-cv-80697,
and Case No.: 9:12-cv-80701-PAS, respectively) (2014)

In Re: Urethanes Antitrust Litigation (Direct Action) – Carpenter Co., Woodbridge Foam
Corporation, Dash Multi-Corp, Inc., et al. vs. Bayer AG, The Dow Chemical Company,
Huntsman International LLC, Lyondell Chemical Company, BASF Corporation, et al. (In The
United States District Court For The District Of Kansas, 04-MD-1616 (JWL), No. 08-2617, No.
09-2026, No. 10-2077) (2014)

Brightstar Corp. and Brightstar, US, Inc. vs. e-Recycling, LLC (In The Circuit Of The 11th
Judicial Circuit In And For Miami-Date County, Florida, Case No. 12-08985 CA 40) (2014)

US Airways, Inc. vs. Sabre Holdings Corporation, Sabre Inc., and Sabre Travel
International Limited (United States District Court, Southern District Of New York, Civil
Action No. 1:11-cv-02725-MGC) (2014)

ASUS Computer International vs. Round Rock Research, LLC (United States District Court,
Northern District Of California, Civil Action No. 3:12-CV-02099-JST) (2014)

Yanira Algarin and Patsy Murdock, on behalf of themselves and all others similarly situated vs.
Maybelline, LLC d/b/a Maybelline New York (United States District Court, Southern District
of California, Case No. 12CV3000 AJB DHB) (2014)


                                                11
   Case 3:13-cv-01279-WHO             Document 110-9     Filed 10/10/14     Page 85 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

Jean Melchior vs. Hilite International, Inc. (United States District Court For The Northern
District Of Texas, Dallas Division, Civil Action No.: 3:11-CV-03094-M) (2014)

Becton, Dickinson and Company vs. Insulet Corporation (In The United States District Court
For The District Of New Jersey, Case No. 2:10-cv-04371-PGS-ES) (2014)

NuVasive, Inc. vs. Globus Medical, Inc. (In The District Court Of Travis County, Texas, Cause
No. D-1-GN-11-002134) (2013)

PharmAthene, Inc. vs. SIGA Technologies, Inc. (In The Court Of Chancery In The State Of
Delaware, Civil Action No. 2627-VCP) (2013)

SimpleAir, Inc. vs. Microsoft Corporation, Motorola Mobility, Inc., Google Inc., et al. (In The
United States District Court For The Eastern District Of Texas, Marshall Division, Civil Action
No. 2:11-cv-00416) (2013)

Ethicon Endo-Surgery, Inc. and Ethicon Endo-Surgery, LLC vs. Covidien, Inc. and Covidien,
LP (In The United States District Court For The Southern District Of Ohio, Western Division,
Civil Case No.: 1:11-cv-871) (2013)

Applied Medical Resources Corporation vs. Tyco Healthcare Group LP d/b/a Covidien (In
The United States District Court For The Central District of California, Southern Division, Civil
Action No.: SACV11-01406JVS (ANx)) (2013)

Microsoft Corporation vs. LBS Innovations LLC and LBS Innovations LLC, a Texas LLC (In
the United States District Court For The Eastern District Of Texas, Marshall Division, Case No.
2:12-cv-759-JRG) (2013)

Magnum Oil Tools International, Ltd. vs. Tony D. McClinton, JayCar Energy Group. L.L.C.,
Surf Frac Wellhead Equipment Company, Inc., McClinton Energy Group, L.L.C., Motors Mills
Snubbing, L.L.C., and Stan Keeling (In The United States District Court For The Southern
District Of Texas, Corpus Christi Division, Civil Action No: 2-12-cv-00099) (two depositions:
2013 (damages) and 2014 (preliminary injunction))

NeuStar, Inc. and Quova, Inc. vs. F5 Networks, Inc. (In The United States District Court For
The Northern District Of California, San Jose Division, Case No. CV12-02574) (2013)

Sabatino Bianco, M.D. vs. Globus Medical, Inc. (In The United States District Court For The
Eastern District Of Texas, Marshall Division, Civil Action No. 2:12-cv-147-JRG) (2013)

Swivelpole Group Pty Ltd. and Swivelpole Patent Pty Ltd vs. Swivelpole USA, Ltd.,
Swivelpole Holdings, LLC, Swivelpole Canada Holdings, Inc., ILS Products, LLC, ILS Products
Holdings, LLC, ILS Manufacturing, LLC, and Andrew Grant (In The District Court Of Harris
County, Texas, 164th Judicial District, Cause No. 2012-42402) (2013)




                                                12
   Case 3:13-cv-01279-WHO             Document 110-9    Filed 10/10/14     Page 86 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

In The Matter Of Certain Wireless Devices With 3G And/Or 4G Capabilities And Components
Thereof (InterDigital Communications, Inc., InterDigital Technology Corporation, et al. vs.
Samsung Electronics Co., Ltd., Samsung Electronics American, Inc., and Samsung
Telecommunications America, LLC; United States International Trade Commission,
Washington, D.C., Investigation No. 337-TA-868) (2013)

Lodsys, LLC, et al. vs. Samsung Electronics Co., Ltd., Samsung Electronics America, Inc.,
Samsung Telecommunications America, LLC, et al. (In The United States District Court For
The Eastern District Of Texas, Marshall Division, Civil Action No.: 2:11-CV-90) (2013)

One Technologies, L.P. vs. Profinity, LLC and Chad D. Ertel (In The District Court Dallas
County, Texas, 14th Judicial District, Cause No. 12-03980-A) (2013)

Eidos Display, LLC and Eidos III, LLC vs. AuOptronics Corporation, AU Optronics
Corporation America, Chimei Innolux Corporation, Chi Mei Optoelectronics USA, Inc.,
Chunghwa Picture Tubes, Ltd., Hannstar Display Corporation, and Hannspree North America,
Inc. (United States District Court For The Eastern District Of Texas, Tyler Division, Civil
Action No. 6:11-cv-201) (2013)

Brightstar Corp. and Flipswap Services, LLC vs. Flipswap, Inc. (Judicial Arbitration And
Mediation Services, Case No. 1460000526) (2013; three depositions)

SFA Systems, LLC vs. Amazon.com, Inc. (In The United States District Court For The Eastern
District Of Texas, Tyler Division, Civil Action No. 6:11-cv-00052) (2013)

Palomar Medical Technologies, Inc. and The General Hospital Corporation vs. TRIA Beauty,
Inc. (In The United States District Court, District Of Massachusetts, Civil Action No. 09-CV-
11081-RWZ) (2013)

Maureen Stewart, Kelly Lamicella, and Nicole Bello vs. Beam Global Spirits & Wine, Inc.,
Jim Beam Brands Co., SGC Global, L.L.C., Skinny Girl Cocktails, L.L.C., and Bethenny
Frankel (United States District Court For The District Of New Jersey, Civil Action No. 1:11-cv-
05149 (NLH) (KMW) (2013)

Securities and Exchange Commission vs. Life Partners Holdings, Inc., Brian Pardo, R. Scott
Peden, and David M. Martin (The United States District Court For The Western District of
Texas, Austin Division, Civil Action No.: 1-12-cv-00033-JRN) (2013)

St. Jude Medical, Cardiology Division, Inc., St. Jude Medical Systems AB, and St. Jude
Medical S.C., Inc. vs. Volcano Corporation (In The United States District Court For The
District Of Delaware, C.A. No. 10-631-RGA) (2013)

In Re Dial Complete Marketing and Sales Litigation (MDL No. 2263) (United States District
Court, District of New Hampshire, MDL Docket No. 11-md-2263-SM ALL CASES) (2013)

Sound Design Technologies, Ltd. vs. Oticon, Inc., SeboTech Hearing Systems, LLC, and
Gennum Corp. (The United States District Court For The District Of Arizona, No. CV11-1375-
PHX-SRB) (2013)

                                                13
   Case 3:13-cv-01279-WHO             Document 110-9      Filed 10/10/14     Page 87 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.


Lake Cherokee Hard Drive Technologies, L.L.C. vs. Bass Computers, Inc., LSI Corporation,
Marvell Semiconductor, Inc., Samsung Semiconductor, Inc., and Tech Data Corporation (In
The United States District Court For The Eastern District Of Texas, Marshall Division, Case No.
2:10-cv-216 (TJW-CE)) (2013)

Abraham & Veneklasen Joint Venture, Abraham Equine, Inc. and Jason Abraham vs. American
Quarter Horse Association (In The United States District Court For The Northern District Of
Texas, Amarillo Division, Civil Action No. 02:12-cv-00103-J) (2013)

Hitachi Consumer Electronics Co., Ltd. and Hitachi Advanced Digital, Inc. vs. Top Victory
Electronics (Taiwan) Co. Ltd., TPV Int’l (USA), Inc., Envision Peripherals, Inc., Top
Victory Electronics (Fujian) Co. Ltd., TPV Electronics (Fujian) Co. Ltd., TPV Technology
Ltd., and VIZIO, Inc. (United States District Court For The Eastern District Of Texas, Marshall
Division, Civil Action No. 2:10-CV-260) (2013)

SmartPhone Technologies, LLC vs. Research In Motion, Corp., Apple, Inc., et al. (The United
States District Court For The Eastern District Of Texas, Tyler Division, Civil Action No. 6:10-
CV-74-LED) (2013)

Lutron Electronics Co., Inc. vs. Crestron Electronics, Inc., Face Group, Inc. d/b/a Lifestyle
Electronics, Lava Corp., Audio Vision Systems, LLC (In The United States District Court,
District Of Utah, Central Division, Case: 2:09-cv-707) (2012)

Oasis Research, LLC vs. AT&T Corp., Carbonite, Inc., EMC Corp., Decho Corp., IOMEGA
Corp., GoDaddy.com, Inc., Iron Mountain Incorporated, Iron Mountain Information
Management, Inc., Pro Softnet Corp., et al. (In The United States District Court For The
Eastern District Of Texas, Sherman Division, Civil Action No. 4:10-cv-00435-MHS-ALM)
(2012)

Secure Axcess, LLC vs. Bank of America Corp., Arvest Bank, Bank of the Ozarks, Inc.,
Compass Bancshares, Inc., First National Bank Texas, First National Bank of Omaha,
Zions Bancorporation, et al. (In The United States District Court For The Eastern District Of
Texas, Tyler Division, Case No. 6:10-cv-00670) (2012)

Kehlie R. Espinosa, Lillian E. Levoff, Thomas Ganin, and Daniel Baldeschi vs. Hyundai Motor
America (United States District Court, Central District Of California, Case No. 2:12-cv-00800
GW (FFMx)) (2012)

Axcess International, Inc. vs. Savi Technology, Inc. (In The United States District Court For
The Northern District Of Texas, Dallas Division, Case No. 3:10-cv-01033-F) (2012)

American Airlines, Inc. vs. Sabre Inc., et al. (In The Judicial District Of Tarrant County, Texas,
67th Judicial District, No. 067-249214-10) (2012)

I/P Engine, Inc. vs. AOL, Inc.; Google Inc.; IAC Search & Media, Inc.; Gannett Company, Inc.;
and Target Corporation (In The United States District Court For The Eastern District Of
Virginia, Norfolk Division, Civil Action No. 2:11-cv-512-RAJ) (2012)

                                                14
   Case 3:13-cv-01279-WHO             Document 110-9     Filed 10/10/14     Page 88 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.


Realtime Data, LLC d/b/a IXO vs. MetroPCS Texas, LLC; MetroPCS Communications, Inc.;
MetroPCS Wireless, Inc.; AT&T, Inc.; AT&T Mobility LLC; Cellco Partnership d/b/a
Verizon Wireless International, Inc.; Leap Wireless International, Inc.; Cricket
Communications, Inc. a/k/a Cricket Wireless, Inc.; Sprint Nextel Corp.; and T-Mobile USA, Inc.
(United States District Court, Eastern District of Texas, Tyler Division, Case No. 6:10-cv-00493-
LED) (2012)

Realtime Data, LLC d/b/a IXO vs. MetroPCS Texas, LLC; MetroPCS Communications, Inc.;
MetroPCS Wireless, Inc.; AT&T, Inc.; AT&T Mobility LLC; Cellco Partnership d/b/a Verizon
Wireless International, Inc.; Leap Wireless International, Inc.; Cricket Communications, Inc.
a/k/a Cricket Wireless, Inc.; Sprint Nextel Corp.; and T-Mobile USA, Inc. (United States
District Court, Eastern District of Texas, Tyler Division, Case No. 6:10-cv-00493-LED) (two
depositions: 2012 and 2013)

Technical Resource Services, Inc., et al. vs. Shell Exploration & Production, Company (In
The United States District Court For The Eastern District Of Louisiana, Civil Action No. 09-
7339) (2012)

U.S. Bank National Association, Litigation Trustee of the Idearc Inc. et al. Litigation Trust vs.
Verizon Communications Inc., Verizon Financial Services, LLC, GTE Corporation, and
John W. Diercksen (In The United States District Court For The Northern District Of Texas, No.
3:10-CV-1842-G) (2012)

Eon Corp. IP Holdings, LLC vs. T-Mobile USA, Inc., Research In Motion Corporation, Cellco
Partnership d/b/a Verizon Wireless, et al. (United States District Court For The Eastern
District Of Texas, Tyler Division, Civil Action No. 6:10-cv-00379-LED) (2012)

My485, Inc. vs. Riverside Partners, LLC, d/b/a The Riverside Company and
HealthcareFirst, Inc. (In The District Court, 67th Judicial District, Tarrant County, Texas,
Cause No. 067 251767 11) (2012)

In Re Glaceau Vitamin Water Marketing and Sales Practice Litigation (No. II): The Coca Cola
Company and Energy Brands, Inc. (In The United States District Court, Eastern District Of
New York, Case No. 1:11-md-02215-DLI-RML) (2012)

FLIR Systems, Inc. vs. Sierra Media, Inc. and Fluke Corporation (The United States District
Court, District of Oregon, Portland Division, Case No. 3:10-CV-971-HU) (2012; two
depositions)

In Re: Urethanes Antitrust Litigation (Direct Action) – Carpenter Co., Woodbridge Foam
Corporation, Dash Multi-Corp, Inc., et al. vs. Bayer AG, The Dow Chemical Company,
Huntsman International LLC, Lyondell Chemical Company, BASF Corporation, et al. (In
The United States District Court For The District Of Kansas, 04-MD-1616 (JWL), No. 08-2617,
No. 09-2026, No. 10-2077) (2012)




                                                15
   Case 3:13-cv-01279-WHO             Document 110-9     Filed 10/10/14     Page 89 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

In Re: Urethanes Antitrust Litigation (Class) – Seegott Holdings, Inc., et al. vs. Bayer AG, The
Dow Chemical Company, Huntsman International LLC, Lyondell Chemical Company,
BASF Corporation, et al. (In The United States District Court For The District Of Kansas,
MDL-04-1616 (JWL/JPO), No. 05-2265-JWL) (2012)

LSQ Funding Group, L.C. vs. EDS Field Services n/k/a HP Enterprise Services, LLC (United
States District Court, Middle District Of Florida, Orlando Division, Case No.: 6:10-CV-1246-
ORL-ACC-DAB) (2012)

ePlus Inc., vs. Lawson Software, Inc. (In The United States District Court For The Eastern
District Of Virginia, Richmond Division, Civil Action No. 3:09-CV-620 (RFP)) (2012)

CardSoft, Inc. and CardSoft (Assignment For The Benefit Of Creditors), LLC vs. VeriFone
Systems Corporation; Hypercom Corporation; Ingenico S.A.; Ingenico Corp.; Ingenico
Inc.; Shera International Ltd.; and Blue Bamboo (UUSA), Inc. (United States District Court For
The Eastern District Of Texas, Marshall Division, Civil Action No. 2:08-cv-00098) (2012)

Mitsubishi Heavy Industries, Ltd. vs. General Electric Co. (In The United States District
Court, Middle District Of Florida, Orlando Division, Civil Action No. 6:10-cv-812) (2012)

CEATS, Inc. vs. Continental Airlines, Inc.; Ticketmaster, L.L.C.; Tickets.com, Inc.;
TicketNetwork, Inc.; TicketsNow.com, Inc.; AirTran Airways, Inc.; Alaska Airlines, Inc.;
Delta Air Lines, Inc.; Jet Blue Airways Corporation; United Air Lines, Inc.; US Airways,
Inc.; and Virgin America, Inc. (In The United States District Court For The Eastern District Of
Texas, Tyler Division, Case No. 6:10-cv-120 LED) (2012)

W.L. Gore & Associates, Inc. vs. GI Dynamics, Inc. (United States District Court, District Of
Arizona, No. CV 10-8088 PCT GMS) (2011)

LML Patent Corp. vs. JPMorgan Chase & Co.; Wells Fargo Bank, N.A.; Wachovia Bank,
N.A.; Citigroup, Inc.; HSBC Bank USA, N.A.; Capital One National Association; Northern
Trust Company; Deutsche Bank Trust Company; PayPal, Inc. (In The United States District
Court For The Eastern District Of Texas, Marshall Division, Case No. 2:08-cv-448 DF) (2011)

Halliburton Energy Services, Inc. vs. Weatherford International, Inc. and BJ Services
Company (In The United States District Court For The Northern District Of Texas, Dallas
Division, Civil Action No. 307-cv-2144-K) (2011; two depositions)

Tyco Healthcare Group LP and United States Surgical Corporation vs. Ethicon Endo-
Surgery, Inc. (In The United States District Court For The District Of Connecticut, Civil Action
No: 3:10-cv-00060 (JBA)) (2011 and 2012; two depositions)

Curtis Berrien; Rose Huerta; Tina Musharbash; Fern Prosnitz; Michael Andler; Marcus Boness;
Timothy Bonnell; Richard Buford; Elaine Cefola; Kenneth Davis; Jerome Garoutte vs. New
Raintree Resorts International, LLC; RVC Members, LLC; Douglas Y. Bech (In The
United States District Court For The Northern District Of California, Oakland Division, Case
No. CV10-3125 CW) (2011)


                                                16
   Case 3:13-cv-01279-WHO             Document 110-9     Filed 10/10/14     Page 90 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

Convolve, Inc. vs. Dell, Inc., Western Digital Corporation, Hitachi Global Storage
Technologies, Inc., and Hitachi, Ltd. (In The United States District Court For The Eastern
District Of Texas, Marshall Division, Civil Action No. 2:08-cv-244) (2011)

United States of America ex rel. Kurt Bunk and Daniel Heuser v. Birkart Globistics GMBH &
Co. Logistik Und Service KG, et al. and United States of America ex rel. Ray Ammons v. The
Pasha Group, Gosselin World Wide Moving, N.V., and Gosselin Group, N.V. (In The United
States District Court For The Eastern District Of Virginia, Alexandria Division, No. 1.02cv1168
(AJT/TRJ)) (2011)

Cheetah Omni LLC vs. Verizon Services Corporation, Verizon Business Network Services
Inc., and Verizon Enterprise Delivery LLC (In The United States District Court For The
Eastern District Of Texas, Tyler Division, Civil Action No. 6:09-cv-260-LED) (2011)

Eon Corp. IP Holdings, LLC vs. Sensus USA Inc. (United States District Court For The Eastern
District Of Texas, Tyler Division, Civil Action No. 6:09-cv-00116) (2011)

Bedrock Computer Technologies LLC vs. SoftLayer Technologies, Inc.; CitiWare
Technology Solutions, LLC; Google Inc.; Yahoo! Inc.; MySpace Inc.; Amazon.com Inc.;
PayPal Inc.; Match.com, LLC; and AOL Inc. (In The United States District Court For The
Eastern District Of Texas, Tyler Division, Case No. 6:09-cv-269) (2011)

Personal Audio, LLC vs. Apple Inc.; Sirius XM Radio, Inc.; XM Satellite Radio, Inc.; Coby
Electronics, Corp.; Archos, Inc. (United States District Court For The Eastern District Of Texas,
Lufkin Division, Case 9:09-cv-00111-RC) (2011)

Beneficial Innovations, Inc. vs. Blockdot, Inc.; CareerBuilder, LLC; CNET Networks, Inc.;
Digg, Inc.; Ebaums’s World, Inc.; Jabez Network, Inc.; The New York Times Company; The
Washington Post Company; and The Weather Channel Interactive, Inc. (United States District
Court For The Eastern District Of Texas, Marshall Division, Case No. 2:07-CV-263-TJW-CE)
(2010)

St. Jude Medical, Inc. and St. Jude Medical Puerto Rico LLC vs. Access Closure, Inc. (In
The United States District Court For The Western District Of Arkansas, Texarkana Division,
Case No. 4:08-cv-04101-HFB) (2010)

Eon Corp. IP Holdings, LLC vs. Verizon Clinton Center Drive Corp. (United States District
Court For The Eastern District Of Texas, Tyler Division, Civil Action No. 6:08-cv-00385)
(2010)

Tyco Healthcare Group LP vs. C.R. Bard, Inc. and Davol, Inc. (In The United States District
Court For The District Of Delaware, C.A. No. 09-264 (SLR)(MPT)) (2010)

Affinity Labs of Texas, LLC vs. BMW North America, LLC; BMW Manufacturing Co., LLC;
Hyundai Motor America, Inc.; Hyundia Motor Manufacturing Alabama, LLC; Kia Motors
America, Inc.; Mercedes-Benz USA, LLC; Mercedes-Benz U.S. International, Inc.; and
Volkswagen Group of America, Inc. (In The United States District Court For The Eastern
District Of Texas, Lufkin Division, Civil Action No. 9:08-cv-164-RC) (2010)

                                                17
   Case 3:13-cv-01279-WHO             Document 110-9     Filed 10/10/14     Page 91 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.


Mirror Worlds, LLC vs. Apple Inc. (United States District Court For The Eastern District Of
Texas, Tyler Division, Civil Action No. 6:08-CV-88-LED) (2010)

SP Syntax LLC and SP3 Syntax LLC vs. James Ching Hua Li, Man Kit (Thomas) Chow,
Michael K. Chan, Vincent F. Sollitto, Jr, Wayne A. Pratt, John S. Hodgson, David P.
Chavoustie, Christopher C. L. Liu, Alice Phang, Ernst & Young LLP, and Grobstein, Horwath
& Company LLP (Superior Court Of The State Of California, County Of Los Angeles, Case No.
BC402910) (2010)

Gorlick Distribution Centers, LLC vs. Car Sound Exhaust System, Inc. and Allied Exhaust
Systems, Inc. (United States District Court, Western District of Washington at Seattle, Case No.
C07-1076 RAJ) (2010)

Stacy Holk, on behalf of Herself and all others similarly situated vs. Snapple Beverage
Corporation (United States District Court, District of New Jersey, Civil Action No. 3:07-cv-
03018-MJC-JJH) and Evan Weiner and Timothy McCausland on behalf of themselves and all
others similarly situated vs. Snapple Beverage Corporation (United States District Court For The
Southern District Of New York, Civil Action No. 07-cv-08742) (2010)

PharmAthene, Inc. vs. SIGA Technologies, Inc. (In The Court Of Chancery In The State Of
Delaware, Civil Action No. 2627-VCP) (2010; two depositions)

Good Sportsman Marketing, LLC and IP Holdings, Inc. vs. Non Typical, Inc., Mark
Cuddeback, and Richard Scales Advertising Associates, Inc. (In The United States District
Court For The Eastern District Of Texas, Tyler Division, Case No. 06:07-cv-00177-LED) (2010)

DataTreasury Corporation vs. Wachovia Corporation, Wachovia Bank National Association,
et al. (In The United States District Court For The Eastern District Of Texas, Marshall Division,
Civil Action No. 2-06CV-072) (2009)

DataTreasury Corporation vs. Wells Fargo & Company, Wells Fargo Bank, National
Association, et al. (In The United States District Court For The Eastern District Of Texas,
Marshall Division, Civil Action No. 2-06CV-072) (2009)

Carpathia Hosting, Inc., Carpathia Hosting, Inc. as nominee and trustee, for Triumviri, Inc., and
Triumviri, Inc. vs. Brookshire Enterprises, LLC, Custom Computer Cable, Inc., Jackson Browne,
LLC, Courtney Matthews, and Electronic Data Systems, LLC (Virginia: In The Circuit Court
For Loudoun County, Civil Case No. CL 46964) (2009)




                                                18
   Case 3:13-cv-01279-WHO             Document 110-9     Filed 10/10/14     Page 92 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

MHL Tek, LLC vs. Nissan Motor Co., Nissan North America, Inc., Nissan Technical Center
North America, Inc., Hyundai Motor Co., Hyundai Motor America, Hyundai Motor
Manufacturing Alabama, LLC, Kia Motors Corporation, Kia Motors America, Inc., Dr. Ing.
H.C.F. Porsche AG, Porsche Cars North America, Inc., Bayerische Motoren Werke AG, BMW
of North America LLC, BMW Manufacturing Co., LLC, Isuzu Motors Ltd., Isuzu Motors
America, Inc., Subaru of America, Inc., Subaru of Indiana Automotive, Inc., Audi AG,
Volkswagen AG, and Volkswagen Group of America, Inc. (In The United States District
Court For The Eastern District of Texas, Marshall Division, Civil Action No. 2:07-cv-289-TJW)
(2009)

Crane Co. and Dixie-Narco Inc. vs. SandenVendo America, Inc. and Royal Vendors, Inc. (In
The United States District Court For The Eastern District of Texas, Marshall Division, Civil
Action No. 2:07-cv-42) (2009)

LG Electronics Inc. vs. Hitachi, Ltd., Hitachi Automotive Products (USA), Inc., Clarion Co.
Ltd., Clarion Corporation of America and Xanavi Informatics Corporation. (In The United
States District Court, Eastern District Of Texas, Texarkana Division, Civil Action No. 5:07-CV-
90) (2009)

Paradox Security Systems, Ltd., Shmuel Hershkovitz, and Pinhas Shpater vs. ADT Security
Services, Inc., Digital Security Controls, Ltd., Monitronics International, Inc., and Protection
One, Inc. (In The United States District Court For The Eastern District Of Texas, Marshall
Division, C. A. No. 2:06-CV-462 (TJW)) (2009)

i4i Limited Partnership and Infrastructures for Information Inc. vs. Microsoft Corporation (In
The United States District Court For The Eastern District Of Texas, Tyler Division, Civil Action
No. 6:07-CV-113-LED) (2009)

The Compliance Source, Inc. and Digital Docs, Inc. vs. GreenPoint Mortgage Funding, Inc.
(In The United States District Court, Northern District Of Texas, Dallas Division, Civil Action
No. 3-06-cv1057-L (ECF)) (2008)

Hearing Components, Inc. vs. Shure, Inc. (In The United States District Court For The Eastern
District of Texas, Lufkin Division, Civil Action No. 9:07-cv-104 (RHC)) (2008)

Lutron Electronics Co. Inc. vs. Control4 Corporation (In The United States District Court For
The District Of Utah, Central Division, Civil Action No. 2-03-CV-00401 DAK) (2008)

ELB Enterprises of Dallas, L.P. and Bai-Mac, Inc. vs. McDonald’s Corporation, McDonald’s
USA, LLC, and Golden Arch of Texas, Inc., and Ricardo Colon (In The Court At Law, Court
No. 4, Dallas County, Texas, Cause No. CC-06-17226-D) (2008)

Rambus, Inc. vs. Samsung Electronics Co., Ltd., Samsung Electronics America, Inc.,
Samsung Semiconductor, Inc., and Samsung Austin Semiconductor, L.P. (United States
District Court, Northern District Of California – San Jose Division, Case No. 05 02298 RMW)
(2008)



                                                19
   Case 3:13-cv-01279-WHO             Document 110-9      Filed 10/10/14      Page 93 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

TiVo Inc. vs. EchoStar Communications Corporation, EchoStar DBS Corporation, EchoStar
Technologies, and Echosphere Limited Liability Company (United States District Court for the
Eastern District of Texas, Marshall Division, Case No. 2 – 04CV01 DF) (2008)

Iovate Health Sciences, Inc., University of Florida Research Foundation, Inc. and Flamma SpA
vs. Bio-Engineered Supplements & Nutrition, Inc., d/b/a BSN, Inc. and Medical Research
Institute (In The United States District Court For The Eastern District Of Texas, Lufkin Division,
Case No. 9:07-cv-46) (2008)

Ronald A. Katz Technology Licensing, L.P. vs. The DIRECTV Group, Inc., DIRECTV, Inc.,
DIRECTV Holdings, LLC, DIRECTV Enterprises, LLC, and DIRECTV Customer
Services, Inc. (In The United States District Court, Central District of California, Case No. 2:07-
CV2322 RGK (FFMx) and Case No. 2:07-ML-1816-B RGK (FFMx), originally filed in the
Eastern District of Texas as Case No. 9:06-CV-00193-RHC) (2008)

Quantum Unlimited, LLC, Quantum of Troon North, LLC, and Redsky Resorts of Troon North,
LLC n/k/a Redsky Resorts, LLC vs. Wyndham International, Inc., Tempus Resorts
International, Ltd, The Blackstone Group L.P., et al. (In The District Court Of Dallas County,
Texas, 298th Judicial District) (2008)

In the Matter of Certain 3G Wideband Code Division Multiple Access (WCDMA) Handsets and
Components Thereof (InterDigital Communications Corporation and InterDigital Technology
Corporation vs. Samsung Electronics Co., Ltd, Samsung Electronics America, Inc., and
Samsung Telecommunications America LLC; The United States International Trade
Commission, Washington, D.C., Investigation No. 337-TA-601) (2008; two depositions)

Bueno Conato, LLC vs. Bajio LLC, Bajio National LLC, Bajio Franchising LLC, and Doctor’s
Associates, Inc. (American Arbitration Association, Western Case Management Center, Case
No. 77 114 Y 00254 06 WYGI) (2008)

O2Micro International Limited vs. Rohm Co. Ltd., Sony Corporation, Sony EMCS Corporation,
Sony Corporation of America, and Sony Electronics Inc. (In The United States District Court For
The Eastern District of Texas, Marshall Division, Case No. 2-05-CV-00211-TJW) (2008)

Blackboard Inc. vs. Desire2Learn Inc. (In The United States District Court For The Eastern
District of Texas, Lufkin Division, Case No 9:06CV155) (2008)

Abbott Laboratories and Abbott Diabetes Care Inc. vs. Roche Diagnostics Corporation,
Roche Diagnostics Operations, Inc., and Bayer Healthcare LLC; Abbott Laboratories and
TheraSense, Inc. vs. Becton, Dickinson and Company and Nova Biomedical Corp. (In The
United States District Court, Northern District of California, Civil Action No. C04-2123 MJJ,
Civil Action No. C04-3327 MJJ, Civil Action No. C04-3732 MJJ, and Civil Action No. C05-
3117 MJJ) (2008; two depositions)




                                                20
   Case 3:13-cv-01279-WHO             Document 110-9     Filed 10/10/14     Page 94 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

United States of America, ex rel Toni R. Barron and Vicky J. Scheel vs. Deloitte & Touche,
LLP, Deloitte Touche Consulting Group, LLC, Deloitte & Touche Consulting Group Holding,
LLC, Medicaid Solutions of Texas, and National Heritage Insurance Company (In The United
States District Court, Western District of Texas, Civil Action No. SA-99-CV-1093FB) (2007)

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Networks, Inc. (In The United States District Court, District of Massachusetts, Civil Action No.
06 CA 11109 RWZ and Civil Action No. 06 CA 11585 RWZ) (2007)

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(2007)

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Court For The Eastern District of Texas, Lufkin Division, Civil Action No. 9:06CV140-RHC)
(2007)

Tinkers & Chance vs. LeapFrog Enterprises, Inc. (In The United States District Court, Eastern
District of Texas, Marshall Division, Civil Action No. 2-05cv-349-TJW) (2007)

DEJ Productions, Inc., Blockbuster Inc., and First Look Studios, Inc. vs. Media 8
Entertainment and MDP Distribution, Inc. (In The District Court of Dallas County, Texas, M-
298th Judicial District, Cause No. 06-01887) (2007)

Art International Forwarding, Inc. vs. The Pasha Group and Gosselin Worldwide Moving,
N.V. (In The United States District Court, Eastern District of Missouri, Eastern Division, Case
No. 4:05-CV-01410-RWS) (2007)

Applied Medical Resources Corp. vs. United States Surgical Corporation (In The United
States District Court For The Central District Of California, Southern Division, Case No. SACV
03-1267 CJC (MLGx)) (2007)

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International, and adidas Promotional Retail Operations Inc. (In The United States District Court
For The Eastern District of Texas, Lufkin Division, Case No. 9:06-cv-43-RHC) (2007)

BIAX Corporation vs. Intel Corporation and Analog Devices, Inc. (In The United States
District Court For The Eastern District of Texas, Marshall Division, Civil Action No. 2-05cv-
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Two-Way Media, LLC vs. America Online, Inc. (In The United States District Court For The
Southern District of Texas, Corpus Christi Division, Civil Action No. C-04-089) (2007)

In re Enron Corporation Securities Litigation; Kevin Lamkin, Janice Schuette, Robert Ferrell and
Stephen Miller vs. UBS Financial Services, Inc. and UBS Securities LLC (Civil Action No.
H:02-CV-0851; Consolidated MDL) and Samuel Giancarlo vs. UBS Financial Services, Inc.,
UBS Securities LLC., and UBS AG (Civil Action No. H-03-4359; Consolidated MDL) (In The
United States District Court For The Southern District of Texas, Houston Division) (2007)

                                                21
   Case 3:13-cv-01279-WHO             Document 110-9      Filed 10/10/14     Page 95 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.


O2Micro International Limited vs. Samsung Electronics Co., Ltd. and Samsung Electronics
America, Inc. (In The United States District Court For The Eastern District of Texas, Marshall
Division, Case No. 2:04-CV-323 (Ward)) (2007)

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CONSOL Energy, Inc. (In The United States District Court For The Western District of
Pennsylvania, Civil Action No. 05-CV-1574) (2007)

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(Delaware), Inc. (In The District Court 398th Judicial District of Hildalgo County, Texas, Cause
No. C-2584-06-1) (2007)

The Post Confirmation Trust (The Fleming Companies) vs. Digital Exchange Systems, Inc. (In
The United States District Court for the Eastern District of Texas, Texarkana Division, No. 5:05-
CV-165(TJW)) (2007)

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Ericsson, Inc., Qualcomm Incorporated, and Lucent Technologies, Inc. (In The United
States District Court for the Eastern District of Texas, Tyler Division, Civil Action No: 6:06-cv-
00163-LED) (2006)

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Richmont Corporation and Nu-Kote Acquisition Corporation vs. Akin Gump Strauss Hauer &
Feld, LLP and Alan Feld (In The District Court of Dallas County, Texas, 192nd Judicial
District, Cause No. 04-03311-K) (2006)

Autobytel Inc. vs. Dealix Corporation (United States District Court Eastern District of Texas,
Marshall Division, Case No. 2:04-cv-338-LED) (2006)

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Communications Services, Inc. (Before the American Arbitration Association, Arbitration No.
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Southern District of Texas, Houston Division, Civil Action Number H-03-4400) (2006)

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The United States District Court for the Northern District of Texas, Fort Worth Division, Civil
Action No. 4-05CV-496-A) (2006)

Eckhard U. Alt, MD vs. Medtronic, Inc. (In The United States District Court for the Eastern
District of Texas, Marshall Division, Civil Action No. 2:04CV370) (2006)




                                                22
   Case 3:13-cv-01279-WHO             Document 110-9     Filed 10/10/14     Page 96 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

AVID Identification Systems, Inc. vs. Philips Electronics North America Corporation,
Koninklijke Philips Electronics N.V., The Crystal Import Corporation, Medical Management
International, Inc., and Datamars SA (In The Eastern District of Texas, Marshall Division, Case
No. 2:04-CV-183) (2006)

In re: Williams Securities Litigation (WCG Subclass) (In The United States District Court for
the Northern District of Oklahoma, Case No. 02-CV-72H(M)) (2006)

Immunocept, LLC, Patrice Anne Lee, and James Reese Matson vs. Fulbright & Jaworski, LLP
(United States District Court Western District of Texas, Austin Division, Cause No. A 05 CA
334 SS) (2006)

Children’s Medical Center of Dallas vs. Columbia Hospital at Medical Center Dallas
Subsidiary L.P. (In The United States District Court Northern District Of Texas, Dallas
Division, Civil Action No. 3:04-CV-2436-BD) (2006)

Vantage Controls, Inc. vs. Lutron Electronics Co., Inc. (In The United States District Court for
the District of Utah, Central Division, Case No. 2:03-CV-00488TC) (2006)

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Cummins-Allison Corp. vs. Glory LTD., Glory Shoji Co., LTD., and Glory (U.S.A.), Inc.
(United States District Court for the Eastern District of Texas, Marshall Division, Civil Action
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for the Western District of Texas, San Antonio Division. Civil Action No. SA04CA0541 (OG))
(2005)

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Center Regional Healthcare System and East Texas Medical Center (United States District
Court for the Eastern District of Texas, Marshall Division, Civil Action No. 2:03CV464) (2005)

TiVo Inc. vs. EchoStar Communications Corporation, EchoStar DBS Corporation, EchoStar
Technologies, and Echosphere Limited Liability Company (United States District Court for the
Eastern District of Texas, Marshall Division, Case No. 2 – 04CV01 DF) (2005; two depositions)

William Rutledge Scott, Individually and as Independent Executor of the Estate of Mozelle
Rutledge Scott, Deceased vs. Hughes & Luce, L.L.P., Kathryn G. Henkel, and Laurel
Stephenson (In the County Court of Tom Green County, Texas, Cause No. 02P211-L) (2005)

Junitha Bee, et al. vs. Kavilico Corporation, ITT Neodyne, Parker Hannifin, and the Boeing
Company (Superior Court of the State of California, County of Los Angeles, Case No. C99-
589C) (2005)

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No. 70-Y-116-00327-04) (2005)

                                                23
   Case 3:13-cv-01279-WHO             Document 110-9    Filed 10/10/14     Page 97 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.


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Court of the Ninth Judicial Circuit in and for Orange County, Florida, Case No. 02-CA-000075,
Division: 32, Business Court) (2005)

MOSAID Technologies Incorporated vs. Samsung Electronics Co., Ltd., Samsung Electronics
America, Inc., Samsung Semiconductor, Inc., and Samsung Austin Semiconductor, L.P. (In
the United States District Court for the District of New Jersey, Civil Action No. 01-4340
(WJM)) (2004)

Kathleen C. Cailloux, Kenneth F. Cailloux, Paula L. Heilman, and Robert Stephen Andresakis
vs. Baker Botts, L.L.P., Wells Fargo Bank Texas, N.A., William R. Goertz, S. Stacy Eastland,
and Stephen T. Dyer (In the 198th Judicial District Court of Kerr County, Texas, Civil Action
No. 03-603-B) (2004)

Brooktrout, Inc. vs. Eicon Networks Corporation, Eicon Networks, Inc. (In the United States
District Court for the Eastern District of Texas, Marshall Division, Case Number 03-CV-59)
(2004)

MCI Worldcom Network Services, Inc. vs. Twister Communications Network, Inc. (In the
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Association, San Francisco, Case No. 74 Y 117 00586 03 GAP) (2003 and 2004; two
depositions)

Anthony Stella and Mary S. Stella, Individually and on Behalf of all Persons Similarly Situated
in the State of Texas vs. Grant Thorton, L.L.P. (In the District Court of Galveston County,
212th Judicial District) (2003)

Administaff, Inc. and Administaff of Texas, Inc. vs. Aetna Life Insurance Company (In the
United States District Court for the Southern District of Texas, Houston Division, Civil Action
No. 4:01CV3802) (2003)

GATT Trading, Inc. vs. Sears, Roebuck and Co. (In the United States District Court for the
Eastern District of Texas, Marshall Division, Civil Action No. 2:01CV260) (2003)

IEX Corporation vs. Blue Pumpkin Software, Inc. (In the United States District Court for the
Eastern District of Texas, Sherman Division, Civil Action No. 4:01CV16) (2003 and 2005; two
depositions)


                                                24
   Case 3:13-cv-01279-WHO             Document 110-9     Filed 10/10/14     Page 98 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

Steven R. Keene d/b/a Pagers Plus vs. AT&T Wireless, Inc., a/k/a AWS National Accounts,
L.L.C., and First Cellular Group of Shreveport, Inc. d/b/a AT&T Wireless Services
(Judicial Arbitration and Administration Services, Inc.) (2003)

Teleplus, Inc., vs. MCI Telecommunications Corporation, MCI International
Telecommunications Corporation, MCI International Inc., MCI Communications
Corporation, MCI Worldcom, Inc., MCI Global Support Corporation, MCI Global Access
Corporation, and Avantel, S.A. (In the United States District Court Western District of Texas,
San Antonio Division, Civil Action No. SA-98-CA-0849 FB) (2003)

Cavalry Investments, L.L.C. vs. Sunstar Acceptance Corporation and NationsCredit
Commercial Corporation (County Court at Law, Number 4, Dallas County, Texas, Cause No.
99-02296-D) (2002)

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Gunter & Dillon, Stephen Perkins, Sidley & Austin, Litigation Risk Management, Inc., and
Granite Ventures, Inc. (In the District Court of Harris County, Texas, 125th Judicial District,
Case No. 2000-26667) (2002 and 2003; two depositions)

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No. 13-107-00136-01) (2002)

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Brine, Inc. and Sports Licensing, Inc. vs. STX, Inc. and STX, LLC (In the United States
District Court for the District Massachusetts, Worchester Division, Civil Action No. 99-40167)
(2002 and 2003; two depositions)

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Texas, Cause No. 01-899-C) (2002)

Poly-America, Inc. vs. Serrot International, Inc. (In the United States District Court for the
Northern District of Texas, Dallas Division, Civil Action No. 3:00CV1457-D) (2002)

Andrew Cumming vs. J. C. Penney Company, Inc. (In the District Court of Dallas County,
Texas, 160th Judicial District, Civil Action No. 71-160-00077-01) (2002)

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Arizona in and for the County of Maricopa, Case No. CV 96-00867) (2002)

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States District Court for the Eastern District of Texas, Lufkin Division, Civil Action No.
9:00CV-179) (2001)

EPI Environmental Products, Inc. vs. In-Line Plastics, L.C. (In the United States District Court
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                                                25
   Case 3:13-cv-01279-WHO             Document 110-9      Filed 10/10/14      Page 99 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

Health Laboratories of North America, Inc., et al. vs. Neodata Services, Inc. (In the Superior
Court of the State of Arizona In and For the County of Maricopa, Civil Action No. CV1998-
008143) (2001)

Acres Gaming Inc. vs. Mikohn Gaming Corporation and Casino Data Systems (In the United
States District Court District of Nevada, Civil Action No. CV-S-01462-PMP (RJJ)) (2000)

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C.V., et. al. (In the District Court 116th Judicial District of Dallas County, Texas, Case No.
0000023) (2000)

Healthtech Diagnostics, Corporation and Oncogenetics, Inc. vs. Impath, Inc. and Impath-
HDC, Inc. (In the District Court of Dallas County, Texas, L-193rd Judicial District, Case No. 97-
08552) (2000)

Pacific Southwest Bank and NAFCO Holding Company, LLC vs. Electronic Data Systems
Corporation (In the District Court of Dallas County, Texas, 191st Judicial District, Cause No.
98-5954) (2000)

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States District Court for the Eastern District of Texas, Sherman Division, Civil Action No. 4:98-
CV-245) (2000)

Kvaerner Oilfield Products, Inc. vs. Cooper Cameron Corp. (In the United States District
Court for the Southern District of Texas, Houston Division, Civil Action No. H-98-3369) (2000)

J.V. Smith, et al. vs. Randyl Louis Harrell, Enterprise Products Company, et. al. (In the
District Court of Liberty County, Texas, 75th Judicial District) (2000)

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California for the County of Ventura, Civil Action No. CIV173569) (2000)

David Kimberly Hackett, individually and Samuel G. Swope, individually and as Assignees of
Courtesy Auto Group, Inc. vs. Electronic Data Systems, Inc. (In the United States District
Court for the Northern District of Illinois, Eastern Division, Civil Action No. 98-1065-CIV-19-
A) (2000)

County Council of Northampton County vs. SHL Systemhouse Corp. vs. Northampton County
(In the United States District Court for the Eastern District of Pennsylvania, Civil Action No. 98-
CV-0088) (1999)

Natural Reserves Group, Inc. vs. Baker Hughes, Inc., et. al. (In the United States District Court
for the Southern District of Texas, Harris County Division, Civil Action No. 96-31380) (1999)

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Systems, Inc. (In the United States District Court for the Northern District of Texas, Dallas
Division, Civil Action No. 3-98CV1775-H) (1999)


                                                26
  Case 3:13-cv-01279-WHO             Document 110-9      Filed 10/10/14     Page 100 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

Peoples National Bank, Peoples National Mortgage Corp., and Texas Peoples National
Bancshares, Inc. vs. Russell A. McClendon, St. Paul Mercury Insurance Company, Smith-
Reagan Life and Health Insurance Agency, Inc. and Gary Robertson (In the District Court Lamar
County, Texas, 62nd Judicial District) (1999)

In the Matter of Application No. 96-1, Olympic Pipe Line Company: Cross Cascade Pipeline
Project (Before the State of Washington Energy Facility Site Evaluation Council) (1999)

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Ghalayini (In the County Court at Law; Smith County, Texas, Cause No. 39,839) (1998)

L & S Concrete Company, Inc., Gilliam Brothers, Inc., Webco, Inc., Charles T. Weaver, Gus
Blass, III, Bob Townsell, Alex Lieblong, and Dr. Thomas Robinson vs. Trans World Airlines,
Inc. (In the United States District Court for the Eastern District of Arkansas Western Division,
Case No. Civ-97-378) (1998)

Magnetic Technologies, S.P.R.L. vs. Connectware, Inc. (In the District Court Dallas County,
Texas, 68th Judicial District) (1998)

Jeannean Heller, CRNA; Joanne Lewis, CRNA; Harold Newsom, CRNA; and Lola H. Wright,
CRNA vs. Raymond M. Dunning, Jr. and Columbia Medical Center of Lewisville
Subsidiary L.P., d/b/a Columbia Medical Center of Lewisville, Dallas, Texas (American
Arbitration Association, Dallas, Texas Region) (1998)

Proposed Form A Acquisition of Control of Universal Fidelity Life Insurance Company, an
Oklahoma Domestic stock insurer, by Conseco, Inc., A Delaware Corporation (Before the
Insurance Commissioner of the State of Oklahoma, Case No. 97-207-TRN) (1997)

Excel Telecommunications, Inc., Excel Communications, Inc., Steve Smith, and Kenny
Troutt vs. Linden Wood, Brad Campbell, Candy Campbell, Jerry Szeszulski, and Team Excel of
Independent Representatives (American Arbitration Association, Dallas, Texas Region) (1997)

Gourmet Award Foods vs. Continental Extrusion, Genpak Corporation, and Heartland
Packaging Corporation (Judicial District Court of Dallas County, Texas, D-95th Judicial District)
(1997)

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Louisville, Kentucky, Case No. 94-FD-01957) (1997)

Dodee Frost Crockett vs. Randy Miller and Gina Kaiser (In the District Court of Dallas
County, Texas; 192nd Judicial District) (1996)

Reedrill Corporation vs. Driltech, Inc. (U.S. District Court for the Eastern District of Texas,
Sherman Division, Civil Action No. 4:95CV189) (1996)

Robert Tuck vs. Westec Security, Inc. (Superior Court of the State of California for the County
of Los Angeles, Case No. BC131221) (1996)


                                                27
  Case 3:13-cv-01279-WHO             Document 110-9       Filed 10/10/14      Page 101 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

James Hylsky and Terri Hylsky vs. Fruehauf Trailer Corporation, et. al. (In the Circuit Court
Twentieth Judicial Circuit St. Clair County, Illinois) (1996)

In Re: CSC Industries, Inc. and In Re: Copperweld Steel Company (In the United States
Bankruptcy Court for the Northern District of Ohio, Eastern Division, Civil Case No.
4:93bk41898) (1996)

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Inc. and Pacific Bell, Inc. (Superior Court of the State of California for the County of Los
Angeles, Case No. BC009783) (1996)

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District of Michigan, Southern Division, Civil Action No. 2:92CV76374) (1995)

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Corporation (U.S. District Court for the District of Arizona, Case No. CIV 95-0649 PHX
(ROS)) (1995)

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District Court for the Northern District of Texas, Dallas, Civil Action No. 3:91CV1066) (1995)

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California for the County of San Diego, North County District) (1995)

BancTec USA, Inc. vs. Advanced Financial Solutions, et. al. (U.S. District Court for the
Northern District of Texas, Dallas Division, Civil Action No. 3:93CV1277) (1994)

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California for the County of Los Angeles, Case No. SC013502) (1994)

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Northern District of California, San Jose, Civil Action No. 5:93CV20712) (1994)

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Hidalgo County, Texas) (1994; two depositions)

Auto Color Specialists, Inc. and Polly Chen vs. BASF (Superior Court of the State of California
for the County of Orange, Case No. 677861) (1994)

Tactical Edge, Inc. vs. Gall’s, Inc. (District Court of the Fourth Judicial District of the State of
Idaho in and for the County of Ada) (1994)

Arley Del Gado vs. County of Los Angeles (Superior Court of the State of California for the
County of Los Angeles) (1993)

Dominquez vs. Holy Cross Hospital (Superior Court of the State of California for the County of
Los Angeles) (1993)


                                                28
  Case 3:13-cv-01279-WHO             Document 110-9       Filed 10/10/14      Page 102 of 123
Deposition Testimony of Keith R. Ugone, Ph.D.

Union Oil Company of California vs. International Insurance Company, et. al. (Superior Court
of the State of California) (1993)

Maranatha Music! vs. Capital Cities, Inc./ABC, Inc., and Word, Inc. (U.S. District Court for
the Western District of Texas, Waco Division) (1993)

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(1993)

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Corporation vs. Shearson Lehman Brothers Holdings Inc., et. al. (U.S. District Court for the
Central District of California) (1993)

Chroma Lighting and Charles T. Von Der Ahe vs. GTE Products Corporation and Sylvania
Lighting Services Corporation (U.S. District Court for the Central District of California, Civil
Case No. 2:91CV6424) (1993; three depositions)

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California, Civil Case No. 2:91CV3506) (1992)

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Maryland, Civil Action No. 1:91CV2208) (1992)

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De Laurentiis Entertainment Group, Inc. Securities Litigation; De Laurentiis Film Partners
Securities Litigation (U.S. District Court for the Central District of California) (1991; two
depositions)

James T. Ryan vs. Crowley Towing and Transportation and Shell Oil Company (Superior
Court of the State of California for the County of Los Angeles) (1991)

Clayton Jacobson vs. Kawasaki Heavy Industries, Ltd., Japan; Kawasaki Motors Corporation,
USA; and Kawasaki Motors Manufacturing Corporation, USA (U.S. District Court for the
Central District of California) (1991)

Advanced Building Maintenance, Inc., vs. Premier Ventures, Inc., dba Premier Building
Maintenance (Superior Court of the State of California for the County of Los Angeles) (1990)

Frank V. and Gloria Lumbert vs. Robert C. Skinner and Lillian R. Skinner, et. al. (Superior
Court of the State of California for the County of Los Angeles) (1990)

Plaintiff vs. Valley Hunt Club, Tournament of Roses, et. al. (Superior Court of the State of
California) (1990)

Kippy Thomas vs. Mary Lendo and Circle K, (Superior Court of the State of California for the
County of Riverside) (1990)


                                                29
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 103 of 123




                             Exhibit 3
                                   Case 3:13-cv-01279-WHO                               Document 110-9             Filed 10/10/14   Page 104 of 123



Facts, Data, and Other Information Received
Description                                                                                                                             Bates Prefix   Start       End



Legal Documents
Class Action Complaint
Declaration of Colin B. Weir dated August 11, 2014
Declaration of Plaintiff Erin Allen in Support of Motion for Class Certification dated August 10, 2014
Declaration of Ureka Idstrom in Support of Plaintiff's Motion for Class Certification
First Amended Class Action Complaint
Plaintiff's Notice of Motion and Motion for Class Certification; Memorandum or Points and Authorities in Support
Unredacted Declaration of Lee M. Gordon in Support of Plaintiff's Motion for Class Certification dated August 11, 2014


Deposition Transcripts and Associated Exhibits
30(b)(6) Deposition of ConAgra by Chris Chatzidakis taken June 24, 2014
30(b)(6) Deposition of ConAgra by Chris Chatzidakis, Volume II, taken June 25, 2014
30(b)(6) Deposition of ConAgra by Karrie Weis taken June 25, 2014
30(b)(6) Deposition of ConAgra by Patrick Fitzgerald, Volume II, taken June 24, 2014
30(b)(6) Deposition of ConAgra by Robert Ewart taken June 24, 2014
30(b)(6) Deposition of ConAgra Foods by Catherine Bartholomew, taken June 26, 2014
30(b)(6) Deposition of ConAgra Foods by Catherine Bartholomew, Volume II, taken June 27, 2014
30(b)(6) Deposition of ConAgra Foods by Jeremy Attal taken June 26, 2014 and Associated Exhibits
30(b)(6) Deposition of ConAgra Foods by Karl Sears taken June 26, 2014 and Associated Exhibits
Deposition of Alison Watkins taken June 25, 2014
Deposition of Colin B. Wier taken September 30, 2014
Deposition of Erin Allen taken August 28, 2014
Deposition of Patrick Fitzgerald taken June 23, 2014 and Associated Exhibits
Deposition of Steven Asnes taken June 26, 2014 and Associated Exhibits


Documents Produced by Plaintiff
Various Color Photographs                                                                                                                PTF              000001     000010
Margarine: Consumption by How Used and Meal Occasion Table, Four Years Ending May 2008 Table                                             PTF              000011     000011
Margarine: Age/Demographic Profile, Four Years Ending May 2008 Table                                                                     PTF              000012     000020


                                                                                                                                                                   Page 1 of 6
                                   Case 3:13-cv-01279-WHO                           Document 110-9                   Filed 10/10/14            Page 105 of 123



Facts, Data, and Other Information Received
Description                                                                                                                                        Bates Prefix   Start       End


Top Host Foods to Margarine When Used as an Additive or Ingredient, Four Years Ending May 2008 Table                                                PTF              000021     000034
Top Host Foods to Margarine When Used as an Additive, Four Years Ending May 2008 Table                                                              PTF              000035     000045
Top Host Foods to Margarine When Used as an Additive Indexed to Total Margarine, Four Years Ending May 2008 Table                                   PTF              000046     000048
Top Host Foods to Margarine When Used as an Ingredient, Four Years Ending May 2008 Table                                                            PTF              000049     000056
Top Host Foods to Margarine When Used as an Ingredient Indexed to Total, Four Years Ending May 2008 Table                                           PTF              000057     000058
When Liquid/Bottle Margarine is Used as an Additive to Bread: When Is It Consumed, Ten Years Ending May 2008                                        PTF              000059     000060
Parkay Spray P&L Summary, FY08 - FY14                                                                                                               PTF              000061     000061
Parkay Spray Detailed P&L, FY08 - FY14                                                                                                              PTF              000062     000062
Parkay Spray Retail Only Net Sales and Profits Summary, FY08 - FY12                                                                                 PTF              000063     000064
Parkay Sprd, 16/8oz Spray Sum of Total Sold to State Name Table, FY08 - FY12                                                                        PTF              000065     000069
Per "Sold To" Detailed Pull, FY08 - FY12                                                                                                            PTF              000070     000070
Excluding Puerto Rico Sum of Total, FY08- FY12                                                                                                      PTF              000071     000071
Parkay Squeeze/Spray SHP P&L Summary, FY08 - FY14                                                                                                   PTF              000072     000072
Parkay Spray Retail Only Net Sales and Profit Summary, FY08 - FY12                                                                                  PTF              000073     000073
Parkay Spray Retail Only Net Sales and Profit Summary, FY08 - FY12                                                                                  PTF              000074     000074
Per Dave Denakas Sum of Total Type Sales and Sum of Total Sales Excluding Puerto Rico, FY08 - FY12                                                  PTF              000075     000075
Parkay Sum of Total Sold to State Name, PRK Sprd 16/8z Spray, FY08 - FY12                                                                           PTF              000076     000080
Total Sold by Brand to Company and State, FY 09                                                                                                     PTF              000081     000089
Table Spreads Stick Pricing Tracker Table                                                                                                           PTF              000090     000092
Various Parkay Images                                                                                                                               PTF              000093     000098
Deposition of Colin B. Weir taken May 23, 2014 in the ConAgra Foods, Inc. Matter (U.S. District Court in the Central District of California,        PTF              000099     000218
Western Division, 11-05379-mmm)
September 2, 2014 Invoice from Economics and Technology, Inc. to Hagens, Berman, Sobol, Shapiro LLP regarding Professional Services in              PTF              000219     000220
the Allen v. ConAgra Foods, Inc. Matter
30(b)(6) Deposition of ConAgra Foods by Catherine Bartholomew taken June 26, 2014, Volume 1, in the Erin Allen v. ConAgra Foods, Inc.               PTF              000221     000236
Matter (U.S. District Court in the Northern District of California, San Francisco Division, 3:13cv01279)
30(b)(6) Deposition of ConAgra Foods by Catherine Bartholomew taken June 27, 2014, Volume 2, in the Erin Allen v. ConAgra Foods, Inc.,              PTF              000237     000332
Matter (U.S. District Court in the Northern District of California, San Francisco Division, 3:13cv01279)
Decision in the Brazil v. Dole Packaged Foods, LLC Matter dated May 30, 2014 (US District Court, Northern District of California, San Jose          PTF              000333     000349
Division, 12-cv01831)



                                                                                                                                                                              Page 2 of 6
                                   Case 3:13-cv-01279-WHO                           Document 110-9                   Filed 10/10/14             Page 106 of 123



Facts, Data, and Other Information Received
Description                                                                                                                                         Bates Prefix   Start       End


30(b)(6) Deposition of ConAgra Foods by Chris Chatzidakis taken June 24, 2014, Volume 1, in the Erin Allen v. ConAgra Foods, Inc. Matter             PTF              000350     000383
(U.S. District Court in the Northern District of California, San Francisco Division, 3:13-cv-01279-jst)
30(b)(6) Deposition of ConAgra Foods by Chris Chatzidakis taken June 25, 2014, Volume 2, in the Erin Allen v. ConAgra Foods, Inc. Matter             PTF              000384     000439
(U.S. District Court in the Northern District of California, San Francisco Division, 3:13-cv-01279-jst)
Class Action Complaint in the Erin Allen v. ConAgra Foods Inc. Matter (U.S. District Court for the Northern District of California, 13-1279)         PTF              000440     000473
Estimating Consumers' Willingness to Pay for Health Food Claims: A Conjoint Analysis International Journal of Innovation, Management and             PTF              000474     000479
Technology, Vol. 4 No. 6, December 2013
Deposition of Patrick Fitzgerald taken June 23, 2014 in the Erin Allen v. ConAgra Foods, Inc. Matter (U.S. District Court, for the Northern          PTF              000480     000574
Division of California, San Francisco Division, 13-cv-1279-vc)
30(b)(6) Deposition of ConAgra by Patrick Fitzgerald taken June 24, 2014 in the Erin Allen v. ConAgra Foods, Inc. Matter (U.S. District Court        PTF              000575     000623
for the Northern District of California, San Francisco Division, 3:13-cv-01279-jst)
July 31, 2014 Invoice from Economics and Technology, Inc. to Hagens, Berman, Sobol, Shapiro LLP regarding Professional Services in the               PTF              000624     000624
Allen v. ConAgra Foods, Inc. Matter
June 30, 2014 Invoice from Economics and Technology, Inc. to Hagens, Berman, Sobol, Shapiro LLP regarding Professional Services in the               PTF              000625     000625
Allen v. ConAgra Foods, Inc. Matter
Decision in the Khoday v. Symantec Corp. Matter, Slip Copy dated March 13, 2014 (US District Court, D. Minnesota, 11-180)                            PTF              000626     000653
Note on Conjoint Analysis by John R. Hauser, MIT Sloan Management Courseware                                                                         PTF              000654     000672
Testing Consumer Perception of Nutrient Content Claims Using Conjoint Analysis Abstract (http://www.nobi.nlm.nih.gov/pubmed/20074390)                PTF              000673     000674
Statement of Qualifications by Colin B. Weir                                                                                                         PTF              000675     000680
When "All Natural" May Not Be By Laura Stamm (http://www.Analysisgroup.com/assessing_false_advertising_claims.aspx?print=1)                          PTF              000681     000682


Documents Produced by ConAgra
July 24, 2012 Email from Patrick Fitzgerald to Various regarding Table Spreads info for Gold Store                                                  CAGAL             000404     000406
April 2, 2012 Email from Joey Matos to David Dobronski regarding Spreads Pricing - Request Approval for 1lb. Tub                                    CAGAL             000464     000465
Parkay FY13 Strategy                                                                                                                                CAGAL             000717     000749
ConAgra Table Spreads Price and Promotion Study dated January 6, 2010                                                                               CAGAL             000956     000992
ConAgra Table Spreads Price and Promotion Study dated January 26, 2009                                                                              CAGAL             001455     001589
Tablespreads Portfolio Analysis Butter Spray and Squeeze Strategic Plan Presentation by ConAgra Foods                                               CAGAL             001847     001857
ConAgra Foods List                                                                                                                                  CAGAL             001909     001924
February 2, 2009 Email from Jim Donzelli to Various regarding January Pricing Report                                                                CAGAL             002061     002071
ConAgra Grocery Foods Retail Pricing Report                                                                                                         CAGAL             002073     002082
Price Increases: Unilver vs. ConAgra, 2007, 2008                                                                                                    CAGAL             002090     002093

                                                                                                                                                                               Page 3 of 6
                                  Case 3:13-cv-01279-WHO                         Document 110-9                 Filed 10/10/14               Page 107 of 123



Facts, Data, and Other Information Received
Description                                                                                                                                      Bates Prefix   Start       End


Tablespreads Overview and Plan: Indianapolis Plant Presentation by ConAgra dated April 4, 2008                                                   CAGAL             002097     002158
Table Spreads IRI Scorecard FY08 CAG Period 10 (4 Weeks Ending March 23, 2008)                                                                   CAGAL             002160     002165
067 Butter/Margarine - Period 9, 2012 Presentation by ConAgra                                                                                    CAGAL             002312     002357
ConAgra Table Spreads List                                                                                                                       CAGAL             002565     002640
Table Spreads IRI Scorecard 5 Weeks Ending February 24, 2008                                                                                     CAGAL             003222     003291
Various Retail Sales and Pricing Data                                                                                                            CAGAL             003293     003492
Product Fact Sheet dated July 13, 2011                                                                                                           CAGAL             004250     004269
Retail Interaction Data (CAGAL_004346.xls)                                                                                                       CAGAL             004346     004346
Table Spreads Assortment Drivers Model - Preference Indices IRI Panel Data, TUS Food, 52 Weeks Ending July 16, 2006 (CAGAL_004347.xls)           CAGAL             004347     004347
IRI Consumer Network Panel Data, Total US All Outlets, 52 weeks ending May 7, 2006 (CAGAL_004348.xls)                                            CAGAL             004348     004348
Table Spreads Cross Purchase Sales, Share, % HH Buying, Purchase Occasions Per Buyer, Sales Per Occasion, 52 Weeks Ending March 19,              CAGAL             004349     004349
2006 (CAGAL_004349.xls)
October 14, 2009 Email from Judith Breish to Various regarding Tablespreads Pricing Work by IRI                                                  CAGAL             005137     005137
Table Spreads IRI Scorecard 4 Weeks Ending December 23, 2007 (CAGAL_006016.xls)                                                                  CAGAL             006016     006016
Table Spreads IRI Scorecard 4 Weeks Ending September 23, 2007 (CAGAL_006018.xls)                                                                 CAGAL             006018     006018
Table Spreads IRI Scorecard 4 Weeks Ending October 21, 2007 (CAGAL_006020.xls)                                                                   CAGAL             006020     006020
Table Spreads IRI Scorecard 4 Weeks Ending August 19, 2007 (CAGAL_006022.xls)                                                                    CAGAL             006022     006022
Edible Fats and Oils - U.S., February 2008 Report                                                                                                CAGAL             006339     006429
Various Retail Sales and Pricing Data (CAGAL_006437.xlsx)                                                                                        CAGAL             006437     006437
Various Retail Sales and Pricing Data (CAGAL_006438.xlsx)                                                                                        CAGAL             006438     006438
Various Retail Sales and Pricing Data (CAGAL_006439.xlsx)                                                                                        CAGAL             006439     006439
Table Spreads IRI Scorecard 4 Weeks Ending February 24, 2008 (CAGAL_006633.xls)                                                                  CAGAL             006633     006633
Table Spreads IRI Scorecard 4 Weeks Ending January 20, 2008 (CAGAL_006634.xls)                                                                   CAGAL             006634     006634
ConAgra Brand Tablespreads Portfolio                                                                                                             CAGAL             007793     007824
Various Retail Sales and Pricing Data (CAGAL_008259.xlsx)                                                                                        CAGAL             008259     008259
October 6, 2009 Email from Brenda Jennings to Jeremy Attal regarding Spreads FSI History with Attached Tablespreads Values and Events.xlsx       CAGAL             008261     008261
Various Retail Sales and Pricing Data (CAGAL_008896.xlsx)                                                                                        CAGAL             008896     008896
Various Retail Sales and Pricing Data (CAGAL_008913.xls)                                                                                         CAGAL             008913     008913
Various Retail Sales and Pricing Data (CAGAL_008914.xls)                                                                                         CAGAL             008914     008914

                                                                                                                                                                            Page 4 of 6
                                   Case 3:13-cv-01279-WHO                            Document 110-9                   Filed 10/10/14                Page 108 of 123



Facts, Data, and Other Information Received
Description                                                                                                                                             Bates Prefix   Start       End


Various Retail Sales and Pricing Data (CAGAL_008941.xlsx)                                                                                               CAGAL             008941     008941
August 18, 2010 Email from Jeremy Attal to Steven Asnes regarding Spreads Elasticities                                                                  CAGAL             008987     008987
BPEs for Parkay Items Range from Inelastic to Elastic, While FSLM Items are Inelastic and BB Items Continue to be Elastic Presentation by               CAGAL             008988     008988
Information Resources
Butter, Margarine and Spreads - U.S., August 2011 Report by Mintel Group Ltd.                                                                           CAGAL             009235     009344
Butter, Margarine and Spreads, August 2011 Presentation by Mintel International Group Ltd.                                                              CAGAL             009345     009356
Various Retail Sales and Pricing Data (CAGAL_010979.xlsx)                                                                                               CAGAL             010979     010979
Various Retail Sales and Pricing Data (CAGAL_010980.xlsx)                                                                                               CAGAL             010980     010980
Various Retail Sales and Pricing Data (CAGAL_010981.xlsx)                                                                                               CAGAL             010981     010981
Various Retail Sales and Pricing Data (CAGAL_010982.xlsx)                                                                                               CAGAL             010982     010982
Various Retail Sales and Pricing Data (CAGAL_010983.xlsx)                                                                                               CAGAL             010983     010983
Various Retail Sales and Pricing Data (CAGAL_010984.xlsx)                                                                                               CAGAL             010984     010984
Various Retail Sales and Pricing Data (CAGAL_010985.xlsx)                                                                                               CAGAL             010985     010985
Various Retail Sales and Pricing Data (CAGAL_010986.xlsx)                                                                                               CAGAL             010986     010986
Various Retail Sales and Pricing Data (CAGAL_010987.xlsx)                                                                                               CAGAL             010987     010987


Documents Produced by Third Parties
IRI Retail Sales and Pricing Data (IRI_ConAgra2_0001^CONFIDENTIAL-ATTORNEYS' EYES ONLY.xlsx)


Documents Independently Obtained
"Age and Sex Composition: 2010," 2010 Census Briefs (http://www.census.gov/prod/cen2010/briefs/c2010br-03.pdf, viewed on October 6,
2014)
"Chapter 9: Interpreting the Results of Conjoint Analysis," Getting Started with Conjoint Analysis: Strategies for Product Design and Pricing
Research, Orme, B. Second Edition (http://www.sawtoothsoftware.com/download/techpap/interpca.pdf, viewed on September 11, 2014)
"Company News; ConAgra Buys Several Margarine Brands from Nabisco," The New York Times, July 22, 1998
(http://www.nytimes.com/1998/07/22/business/company-news-conagra-buys-several-margarine-brands-from-nabisco.html, viewed on
September 11, 2014)
"I Can’t Believe It’s Not Butter! Original Spray" (http://www.icantbelieveitsnotbutter.com/product/detail/129811/i-can-t-believe-it-s-not-butter-
original-butter-spray, viewed on September 29, 2014)
"Parkay margarine: A fresh and creamy taste" (http://www.conagrafoods.com/our-food/brands/parkay, viewed on September 11, 2014)
"Parkay: Our Spreads" (http://www.parkay.com/our-spreads.jsp, viewed on September 11, 2014)



                                                                                                                                                                                   Page 5 of 6
                                  Case 3:13-cv-01279-WHO                         Document 110-9   Filed 10/10/14   Page 109 of 123



Facts, Data, and Other Information Received
Description                                                                                                            Bates Prefix   Start   End


"Report of the NOAA Panel on Contingent Valuation," Arrow, K. et al., dated January 11, 1993
(http://www.darrp.noaa.gov/economics/pdf/cvblue.pdf, viewed on September 15, 2014)
ConAgra Foods, Inc. Form 10-K for the fiscal year ended May 25, 2014
Jeffrey M. Perloff, Microeconomics (5th Edition)
SUPERVALU Inc. Form 10-K for the fiscal year ended February 22, 2014




                                                                                                                                              Page 6 of 6
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 110 of 123




                             Exhibit 4
                        Case 3:13-cv-01279-WHO                Document 110-9           Filed 10/10/14         Page 111 of 123


                                    Individuals Cited In the Rebuttal Expert Report Of Keith R. Ugone


         Deponent         Date                  Party/Title                                        Context of Reference in Report
Erin Allen              8/28/2014   Plaintiff                        -Purchase history of Parkay Spray since 2009
                                                                     -Usage of Parkay Spray
                                                                     -Lack of receipts or other records reflecting her purchases of Parkay Spray

Colin Weir              9/30/2014   Plaintiff's Expert               -Proposed approaches for calculating claimed damages on a Class-wide basis
                                                                     -Assignment of monetary value measure to conjoing survey results
                                                                     -Calculation of claimed price premium on a dollar basis or on a percentage basis
                                                                     -Target sample size for proposed surveys

Steven Asnes            9/4/2014    Director of Sales, ConAgra       -ConAgra does not sell directly to consumers or set retail prices
                                    Foods, Inc.

Jeremy Attal            6/26/2014   Vice President of Customer
                                    Strategy & Planning, ConAgra
                                    Foods, Inc.

Catherine Bartholomew   6/27/2014   Senior Director of Consumer      -Purchase drivers of Parkay Spray
                                    Insights, ConAgra Foods, Inc.

Patrick Fitzgerald      9/4/2014    Senior Brand Manager,            -Varieties of Parkay products sold by ConAgra
                                    ConAgra Foods, Inc.              -Purchase drivers of Parkay Spray



Karl Sears              6/26/2014   Vice President and General   -Retail prices of Parkay Spray set by retailers and differ across retailers
                                    Manager, ConAgra Foods, Inc.
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 112 of 123




                             Exhibit 5
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 113 of 123




                EXHIBIT 5

FILED UNDER SEAL
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 114 of 123




                             Exhibit 6
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 115 of 123




                EXHIBIT 6

FILED UNDER SEAL
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 116 of 123




                             Exhibit 7
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 117 of 123




                EXHIBIT 7

FILED UNDER SEAL
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 118 of 123




                             Exhibit 8
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 119 of 123




                EXHIBIT 8

FILED UNDER SEAL
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 120 of 123




                             Exhibit 9
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 121 of 123




                EXHIBIT 9

FILED UNDER SEAL
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 122 of 123




                            Exhibit 10
Case 3:13-cv-01279-WHO   Document 110-9   Filed 10/10/14   Page 123 of 123




              EXHIBIT 10

FILED UNDER SEAL
